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                                 In the

       United States Court of Appeals
                   For the Seventh Circuit
                       ____________________ȱ
No.ȱ17Ȭ1178ȱ
INTERNATIONALȱASSOCIATIONȱOFȱMACHINISTSȱDISTRICTȱ
TENȱandȱLOCALȱLODGEȱ873,ȱ
                                       PlaintiffȬAppellee,ȱ

                                    v.ȱ

RAYȱALLEN,ȱinȱhisȱcapacityȱasȱSecretaryȱofȱtheȱWisconsinȱ
DepartmentȱofȱWorkforceȱDevelopment,ȱetȱal.,ȱ
                                        DefendantsȬAppellants.ȱ
                       ____________________ȱ

           AppealȱfromȱtheȱUnitedȱStatesȱDistrictȱCourtȱforȱtheȱ
                     WesternȱDistrictȱofȱWisconsin.ȱ
              No.ȱ16ȬCVȬ77ȱ—ȱWilliamȱM.ȱConley,ȱJudge.ȱ
                       ____________________ȱ

    ARGUEDȱSEPTEMBERȱ15,ȱ2017ȱ—ȱDECIDEDȱSEPTEMBERȱ13,ȱ2018ȱ
                       ____________________ȱ

     BeforeȱMANION,ȱROVNER,ȱandȱHAMILTON,ȱCircuitȱJudges.ȱ
   HAMILTON,ȱCircuitȱJudge.ȱWisconsin’sȱActȱ1ȱofȱ2015,ȱcodiȬ
ęedȱatȱWis.ȱStat.ȱ§ȱ111.01ȱetȱseq.,ȱchangedȱmanyȱprovisionsȱofȱ
thatȱState’sȱlaborȱlaws.ȱThisȱcaseȱdealsȱwithȱaȱnarrowȱproviȬ
sionȱofȱActȱ1ȱthatȱaĴemptsȱtoȱchangeȱtheȱrulesȱforȱpayrollȱdeȬ
ductionsȱ thatȱ allowȱ employeesȱ toȱ payȱ unionȱ duesȱ throughȱ
duesȬcheckoěȱauthorizations.ȱȱ
2ȱ                                                    No.ȱ17Ȭ1178ȱ

    Aȱ duesȬcheckoěȱ authorizationȱ isȱ aȱ contractȱ betweenȱ anȱ
employerȱ andȱ employeeȱ forȱ payrollȱ deductions.ȱ Theseȱ areȱ
“arrangementsȱ wherebyȱ [employers]ȱ wouldȱ checkȱ oěȱ fromȱ
employeeȱ wagesȱ amountsȱ owedȱ toȱ aȱ laborȱ organizationȱ forȱ
dues,ȱinitiationȱfeesȱandȱassessments.”ȱFelterȱv.ȱSouthernȱPacięcȱ
Co.,ȱ359ȱU.S.ȱ326,ȱ330–31ȱ(1958).ȱByȱsigningȱanȱauthorization,ȱ
theȱemployeeȱ directsȱtheȱ employerȱtoȱdeductȱunionȱ duesȱorȱ
feesȱ routinelyȱ fromȱ theȱ employee’sȱ paycheckȱ andȱ toȱ remitȱ
thoseȱfundsȱtoȱtheȱapplicableȱunion.ȱManyȱofȱtheseȱauthorizaȬ
tionsȱareȱirrevocableȱforȱaȱspecięedȱperiod—oftenȱoneȱyear—
forȱreasonsȱofȱadministrativeȱsimplicity.ȱSeeȱDkt.ȱ43ȱatȱ2ȱ(EliȬ
zondoȱAě.);ȱseeȱalsoȱN.L.R.B.ȱv.ȱAtlantaȱPrintingȱSpecialtiesȱandȱ
PaperȱProds.ȱUnionȱ527,ȱ523ȱF.2dȱ783,ȱ786ȱ(5thȱCir.ȱ1975).ȱTheȱ
unionȱitselfȱisȱnotȱaȱpartyȱtoȱtheȱauthorization,ȱwhichȱisȱeěecȬ
tiveȱifȱandȱonlyȱifȱtheȱemployeeȱwishes.ȱFederalȱlawȱhasȱlongȱ
provided,ȱhowever,ȱthatȱunionsȱcanȱbargainȱcollectivelyȱwithȱ
employersȱoverȱtheȱstandardȱtermsȱofȱduesȬcheckoěȱauthoriȬ
zations.ȱȱ
    Theȱ TaftȬHartleyȱ Actȱ imposesȱ threeȱ limitsȱ onȱ duesȬ
checkoěȱ authorizations:ȱ theȱ authorizationȱ mustȱ beȱ (1)ȱ indiȬ
vidualȱforȱeachȱemployee,ȱ(2)ȱinȱwriting,ȱandȱ(3)ȱirrevocableȱ
forȱnoȱlongerȱthanȱoneȱyear.ȱSeeȱ29ȱU.S.C.ȱ§ȱ186(a)(2),ȱ(c)(4).ȱ
Wisconsin’sȱActȱ1ȱaĴemptsȱtoȱshortenȱthisȱmaximumȱperiodȱ
toȱthirtyȱdays.ȱSeeȱ2015ȱWis.ȱActȱ1,ȱ§ȱ9,ȱcodięedȱatȱWis.ȱStat.ȱ
§ȱ111.06(1)(i).ȱ
    Theȱ districtȱ courtȱ foundȱ thatȱ Wisconsin’sȱ aĴemptȱ toȱ imȬ
poseȱ itsȱ ownȱ timeȱ limitȱ onȱ duesȬcheckoěȱ authorizationsȱ isȱ
preemptedȱbyȱfederalȱlaborȱlaw,ȱandȱtheȱcourtȱissuedȱaȱperȬ
manentȱinjunctionȱbarringȱenforcementȱofȱthatȱprovision.ȱInȬ
ternationalȱAss’nȱofȱMachinistsȱDistrictȱ10ȱv.ȱAllen,ȱNo.ȱ16ȬcvȬ77,ȱ
2016ȱWLȱ7475720,ȱatȱ*7ȱ(W.D.ȱWis.ȱDec.ȱ28,ȱ2016).ȱWeȱaĜrm.ȱ
No.ȱ17Ȭ1178ȱ                                                          3

ThisȱcaseȱisȱcontrolledȱbyȱtheȱSupremeȱCourt’sȱsummaryȱafȬ
ęrmanceȱ inȱ aȱ caseȱ ęndingȱ aȱ nearlyȱ identicalȱ Stateȱ lawȱ
preempted.ȱ Seaȱ Pakȱ v.ȱ Indus.,ȱ Tech.ȱ &ȱ Prof.ȱ Employees,ȱ Div.ȱ ofȱ
Nat’lȱ Maritimeȱ Union,ȱ 400ȱ U.S.ȱ 985ȱ (1971)ȱ (mem.).ȱ Weȱ rejectȱ
Wisconsin’sȱeěortȱtoȱundermineȱtheȱprecedentialȱforceȱofȱSeaȱ
Pak,ȱwhichȱisȱfullyȱconsistentȱwithȱmoreȱgeneralȱfederalȱlaborȱ
lawȱ preemptionȱ principles.ȱ See,ȱ e.g.,ȱ Machinistsȱ v.ȱ Wisconsinȱ
EmploymentȱRelationsȱCommȇn,ȱ427ȱU.S.ȱ132,ȱ140–42,ȱ153ȱ(1976).ȱ
Wisconsin’sȱaĴemptȱtoȱshortȬcircuitȱtheȱcollectiveȱbargainingȱ
processȱandȱtoȱimposeȱaȱdiěerentȱduesȬcheckoěȱstandardȱisȱ
preemptedȱbyȱfederalȱlaw.ȱȱ
I. FactualȱandȱProceduralȱHistoryȱ
    A.ȱ WisconsinȱActȱ1ȱ
    BeforeȱActȱ1ȱwasȱenactedȱinȱ2015,ȱWisconsinȱlawȱhadȱalȬ
lowedȱ soȬcalledȱ unionȱ securityȱ agreementsȱ inȱ whichȱ unionsȱ
andȱ employersȱ wouldȱ agreeȱ thatȱ employeesȱ wouldȱ beȱ reȬ
quiredȱ eitherȱ toȱ joinȱ theȱ unionȱ orȱ payȱ fairȬshareȱ fees.ȱ Thatȱ
changedȱwithȱActȱ1’sȱ“rightȬtoȬwork”ȱprovisions,ȱwhichȱproȬ
hibitȱemployersȱfromȱrequiringȱtheirȱemployeesȱtoȱpayȱduesȱ
orȱfeesȱtoȱ aȱ union.ȱSeeȱInternationalȱ UnionȱofȱOperatingȱEngiȬ
neersȱLocalȱ139ȱv.ȱSchimel,ȱ863ȱF.3dȱ674,ȱ676–77ȱ(7thȱCir.ȱ2017),ȱ
excerptingȱ 2015ȱ Wis.ȱ Actȱ 1,ȱ §ȱ5,ȱ codięedȱ atȱ Wis.ȱ Stat.ȱ
§ȱ111.04(3)(a).ȱActȱ1ȱprovidesȱinȱpart:ȱ“Noȱpersonȱmayȱrequire,ȱ
asȱaȱconditionȱofȱobtainingȱorȱcontinuingȱemployment,ȱanȱinȬ
dividualȱ toȱ …ȱ Payȱ anyȱ dues,ȱ fees,ȱ assessments,ȱ orȱ otherȱ
chargesȱ…ȱtoȱaȱlaborȱorganization.”ȱ§ȱ111.04(3)(a)(3).ȱThisȱalsoȱ
meantȱthatȱWisconsinȱemployersȱandȱunionsȱcouldȱnoȱlongerȱ
enterȱ intoȱ anȱ enforceableȱ mandatoryȱ unionȱ securityȱ agreeȬ
ment—aȱtermȱinȱaȱcollectiveȱbargainingȱagreementȱwhereȱanȱ
employerȱpromisesȱtheȱunionȱthat,ȱasȱaȱconditionȱofȱemployȬ
ment,ȱitȱwillȱrequireȱitsȱemployeesȱtoȱmaintainȱmembershipȱinȱ
4ȱ                                                               No.ȱ17Ȭ1178ȱ

theȱunion.ȱWeȱheldȱinȱSchimelȱthatȱthisȱ“rightȬtoȬwork”/manȬ
datoryȱ unionȱ securityȱ agreementȱ portionȱ ofȱ Actȱ 1ȱ isȱ notȱ
preemptedȱbyȱfederalȱlaw.ȱ863ȱF.3dȱatȱ677.1ȱ
    TheȱsectionȱofȱActȱ1ȱchallengedȱinȱthisȱlawsuitȱaĴemptsȱaȱ
lessȱ dramaticȱ changeȱ inȱ laborȱ law.ȱ Itȱ requiresȱ employersȱ toȱ
terminateȱduesȬcheckoěȱauthorizationsȱwithinȱthirtyȱdaysȱofȱ
receivingȱwriĴenȱnoticeȱfromȱtheȱemployee.ȱ2015ȱWis.ȱActȱ1,ȱ
§ȱ9,ȱcodięedȱatȱWis.ȱStat.ȱ§ȱ111.06(1)(i).ȱThisȱchallengedȱproviȬ
sionȱreads:ȱ
           (1)ȱItȱshallȱbeȱanȱunfairȱlaborȱpracticeȱforȱanȱemȬ
           ployerȱindividuallyȱorȱinȱconcertȱwithȱothers:ȱ…ȱ
           (i)ȱToȱdeductȱlaborȱorganizationȱduesȱorȱassessȬ
           mentsȱfromȱanȱemployeeȇsȱearnings,ȱunlessȱtheȱ
           employerȱhasȱ beenȱ presentedȱ withȱ anȱ individȬ
           ualȱorderȱtherefor,ȱsignedȱbyȱtheȱemployeeȱperȬ
           sonally,ȱandȱterminableȱbyȱtheȱemployeeȱgivingȱ
           toȱtheȱemployerȱatȱleastȱ30ȱdays’ȱwriĴenȱnoticeȱ
           ofȱ theȱ termination.ȱ Thisȱ paragraphȱ appliesȱ toȱ
           theȱextentȱpermiĴedȱunderȱfederalȱlaw.ȱȱ
     B.ȱ TheȱDisputeȱatȱtheȱJohnȱDeereȱPlantȱ
   ThisȱcaseȱstemsȱfromȱaȱcomplaintȱęledȱwithȱtheȱWisconsinȱ
DepartmentȱofȱWorkforceȱDevelopment,ȱtheȱStateȱagencyȱthatȱ
enforcesȱWisconsin’sȱwageȱlaws.ȱLisaȱAplin,ȱanȱassemblerȱatȱaȱ
Johnȱ Deereȱ plantȱ inȱ Wisconsin,ȱ signedȱ aȱ duesȬcheckoěȱ auȬ
thorizationȱinȱ Novemberȱ 2002.ȱHerȱ authorizationȱinstructedȱ
JohnȱDeereȱtoȱdeductȱunionȱduesȱfromȱherȱpaychecksȱandȱtoȱ

ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
     1ȱSchimelȱfollowedȱourȱdecisionȱinȱSweeneyȱv.ȱPence,ȱ767ȱF.3dȱ654ȱ(7thȱ

Cir.ȱ 2014),ȱ whereȱ aȱ dividedȱ panelȱ upheldȱ anȱ identicalȱ Indianaȱ law,ȱ andȱ
rehearingȱenȱbancȱwasȱdeniedȱbyȱanȱequallyȱdividedȱcourt.ȱ
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remitȱthemȱtoȱtheȱInternationalȱAssociationȱofȱMachinistsȱDisȬ
trictȱ 10ȱ andȱ Localȱ Lodgeȱ 873,ȱ theȱ plaintiěsȬappelleesȱ here,ȱ
whichȱweȱreferȱtoȱasȱtheȱMachinistsȱorȱtheȱunion.ȱAplin’sȱauȬ
thorizationȱsaidȱthatȱitȱwasȱ“irrevocableȱforȱoneȱ(1)ȱyearȱorȱunȬ
tilȱtheȱterminationȱofȱtheȱcollectiveȱbargainingȱagreementȱ…ȱ
whicheverȱoccursȱsooner.”ȱItȱalsoȱprovidedȱthatȱitȱwouldȱbeȱ
automaticallyȱrenewedȱforȱsuccessiveȱoneȬyearȱperiodsȱunlessȱ
theȱcollectiveȱbargainingȱagreementȱterminatedȱorȱAplinȱgaveȱ
noticeȱduringȱaȱęfteenȬdayȱannualȱperiod.ȱTheȱauthorizationȱ
alsoȱprovidedȱthatȱitȱwasȱ“independentȱof,ȱandȱnotȱaȱquidȱproȱ
quoȱfor,ȱunionȱmembership.”ȱThisȱarrangementȱremainedȱinȱ
eěectȱuntilȱ2015.ȱAsȱtheȱStateȱexplains,ȱduesȬcheckoěȱauthoriȬ
zationsȱlikeȱthisȱareȱaȱconvenientȱwayȱforȱemployeesȱtoȱpayȱ
theirȱunionȱduesȱorȱfairȬshareȱfees.ȱȱ
    InȱtheȱwakeȱofȱActȱ1,ȱJohnȱDeereȱandȱtheȱMachinistsȱupȬ
datedȱtheirȱ collectiveȱ bargainingȱ agreement,ȱbutȱ theyȱleftȱinȱ
placeȱaȱtermȱmakingȱduesȬcheckoěȱauthorizationsȱirrevocableȱ
forȱoneȱyear.ȱInȱJulyȱ2015,ȱAplinȱsentȱaȱleĴerȱtoȱJohnȱDeereȱandȱ
theȱ unionȱ invokingȱActȱ 1ȱ andȱ requestingȱ theȱ terminationȱ ofȱ
herȱ duesȬcheckoěȱ authorization.ȱ Theȱ unionȱ respondedȱ thatȱ
herȱrequestȱwasȱuntimelyȱandȱcouldȱnotȱbeȱgrantedȱunlessȱsheȱ
renewedȱitȱduringȱtheȱannualȱcancellationȱperiodȱthatȱNovemȬ
ber.ȱȱ
   AplinȱthenȱęledȱaȱcomplaintȱwithȱtheȱStateȱagencyȱclaimȬ
ingȱthatȱJohnȱDeereȱwasȱviolatingȱStateȱwageȱlawsȱbyȱnotȱhonȬ
oringȱ withinȱ thirtyȱ daysȱ herȱ aĴemptȱ toȱ revokeȱ theȱ duesȬ
checkoěȱauthorization.ȱSheȱsoughtȱaȱrefundȱofȱ$65.60ȱinȱunionȱ
duesȱdeductedȱfromȱherȱpayȱafterȱtheȱcancellationȱwouldȱhaveȱ
takenȱeěect.ȱInȱNovemberȱ2015,ȱtheȱagencyȱsidedȱwithȱAplin,ȱ
ęndingȱ thatȱ Wis.ȱ Stat.ȱ §ȱ 111.06(1)(i)ȱ appliedȱ andȱ thatȱ Johnȱ
DeereȱhadȱtoȱhonorȱAplin’sȱcancellationȱandȱrefundȱrequest,ȱ
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orȱ faceȱ enforcementȱ action.ȱ Theȱ companyȱ thenȱ reimbursedȱ
Aplinȱforȱtheȱ$65.60ȱdeductedȱfromȱherȱpaycheck.ȱAroundȱtheȱ
sameȱtime,ȱtheȱagencyȱhandledȱanotherȱsimilarȱduesȬcheckoěȱ
complaintȱ invokingȱ Wis.ȱ Stat.ȱ §ȱ 111.06(1)(i)ȱ andȱ concludedȱ
thatȱ itȱ “mustȱ enforceȱ theȱ statuteȱ inȱ itsȱ currentȱ form”ȱ unlessȱ
andȱuntilȱitȱwasȱfoundȱpreempted.ȱ
     C.ȱ ThisȱFederalȱLawsuitȱ
    Inȱ Februaryȱ 2016,ȱ theȱ Machinistsȱ ęledȱ thisȱ actionȱ inȱ theȱ
WesternȱDistrictȱofȱWisconsinȱandȱmovedȱtoȱenjoinȱtheȱStateȱ
fromȱ enforcingȱ Actȱ 1’sȱ duesȬcheckoěȱ provision.ȱ Theȱ unionȱ
contendedȱthatȱtheȱfederalȱLaborȬManagementȱRelationsȱActȱ
ofȱ1947,ȱbeĴerȱknownȱasȱtheȱTaftȬHartleyȱAct,ȱpreemptedȱActȱ
1ȱonȱthisȱscore.ȱSeeȱPub.ȱL.ȱNo.ȱ80–101,ȱ§ȱ302(a),ȱ(c)(4),ȱ61ȱStat.ȱ
157,ȱcodięedȱatȱ29ȱU.S.C.ȱ§ȱ186(a),ȱ(c)(4).ȱ
    Toȱprotectȱagainstȱcorruptionȱinȱtheȱcollectiveȱbargainingȱ
process,ȱtheȱTaftȬHartleyȱAct,ȱasȱamended,ȱprohibitsȱ“anyȱemȬ
ployerȱorȱassociationȱofȱemployers”ȱfromȱgivingȱ“anyȱmoneyȱ
orȱ otherȱ thingȱ ofȱ value”ȱ toȱ “anyȱ laborȱ organization,”ȱ
§ȱ186(a)(2),ȱ unlessȱ oneȱ ofȱ aȱ longȱ listȱ ofȱ exceptionsȱ applies.ȱ
§ȱ186(c).ȱTheȱexceptionȱrelevantȱhereȱprovides:ȱ
        Theȱ[prohibition]ȱprovisionsȱofȱthisȱsectionȱshallȱ
        notȱbeȱapplicableȱ…ȱ
        (4)ȱ withȱ respectȱ toȱ moneyȱ deductedȱ fromȱ theȱ
        wagesȱofȱemployeesȱinȱpaymentȱofȱmembershipȱ
        duesȱinȱaȱlaborȱorganization:ȱProvided,ȱThatȱtheȱ
        employerȱhasȱreceivedȱfromȱeachȱemployee,ȱonȱ
        whoseȱ accountȱ suchȱ deductionsȱ areȱ made,ȱ aȱ
        wriĴenȱassignmentȱwhichȱshallȱnotȱbeȱirrevocȬ
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       ableȱforȱaȱperiodȱofȱmoreȱthanȱoneȱyear,ȱorȱbeȬ
       yondȱtheȱterminationȱdateȱofȱtheȱapplicableȱcolȬ
       lectiveȱagreement,ȱwhicheverȱoccursȱsoonerȱ…ȱ.ȱ
§ȱ 186(c)(4).ȱ Theȱ unionȱ arguedȱ thatȱ thisȱ yearȬlongȱ duesȬ
checkoěȱexceptionȱinȱfederalȱlaborȱlawȱisȱincompatibleȱwith,ȱ
andȱthusȱpreempts,ȱtheȱcorrespondingȱthirtyȬdayȱprovisionȱofȱ
Wisconsin’sȱActȱ1.ȱ
   Theȱdistrictȱcourtȱgrantedȱtheȱunion’sȱmotionȱforȱsummaryȱ
judgmentȱ andȱ permanentlyȱ enjoinedȱ enforcementȱ ofȱ Wis.ȱ
Stat.ȱ§ȱ111.06(1)(i).ȱ2016ȱWLȱ7475720,ȱatȱ*7–8.ȱTheȱdistrictȱcourtȱ
foundȱthatȱthisȱissueȱwasȱ“relativelyȱstraightforward,ȱsinceȱitsȱ
resolutionȱisȱcontrolledȱbyȱtheȱUnitedȱStatesȱSupremeȱCourt’sȱ
decision”ȱinȱSeaȱPak.ȱId.ȱatȱ*3,ȱcitingȱ400ȱU.S.ȱ985ȱ(1971).ȱȱȱ
II. Analysisȱ
    Weȱ reviewȱ theȱ legalȱ conclusionsȱ ofȱ summaryȱ judgmentȱ
rulingsȱdeȱnovo,ȱconstruingȱallȱfactsȱandȱdrawingȱallȱreasonȬ
ableȱinferencesȱinȱfavorȱofȱtheȱnonȬmovingȱparties.ȱSeeȱWisȬ
consinȱCentralȱLtd.ȱv.ȱShannon,ȱ539ȱF.3dȱ751,ȱ756ȱ(7thȱCir.ȱ2008).ȱ
Here,ȱhowever,ȱbecauseȱthereȱareȱnoȱgenuineȱissuesȱofȱmateȬ
rialȱfact,ȱweȱmustȱdecideȱonlyȱwhetherȱtheȱunionȱisȱentitledȱtoȱ
aȱjudgmentȱasȱaȱmaĴerȱofȱlaw.ȱId.;ȱFed.ȱR.ȱCiv.ȱP.ȱ56(c).ȱTheȱ
mainȱissueȱinȱthisȱappealȱisȱwhetherȱWis.ȱStat.ȱ§ȱ111.06(1)(i)ȱisȱ
preemptedȱbyȱTaftȬHartley’sȱ§ȱ302(c)(4),ȱcodięedȱatȱ29ȱU.S.C.ȱ
§ȱ186(c)(4).ȱ Weȱ alsoȱ mustȱ addressȱ whetherȱ TaftȬHartley’sȱ
§ȱ14(b)ȱ exceptionȱ toȱ preemptionȱ forȱ Stateȱ “rightȬtoȬwork”ȱ
laws—codięedȱatȱ29ȱU.S.C.ȱ§ȱ164(b)—allowsȱWisconsinȱtoȱdoȱ
whatȱitȱaĴemptedȱtoȱdoȱhere.ȱȱ
    WeȱconcludeȱthatȱtheȱTaftȬHartleyȱActȱpreemptsȱWisconȬ
sin’sȱaĴemptȱtoȱsetȱnewȱrulesȱforȱduesȬcheckoěȱauthorizationsȱ
governedȱ byȱ §ȱ 186(c)(4).ȱ Becauseȱ theȱ challengedȱ portionȱ ofȱ
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Actȱ1ȱregulatesȱanȱemployee’sȱoptionalȱduesȬcheckoěȱauthorȬ
izationȱratherȱthanȱanȱemployee’sȱobligationȱtoȱpayȱduesȱasȱaȱ
conditionȱ ofȱ employment,ȱ itȱ fallsȱ outsideȱ theȱ scopeȱ ofȱ theȱ
§ȱ164(b)ȱ“rightȬtoȬwork”/unionȱsecurityȱagreementȱexception.ȱ
WeȱexplainȱinȱPartȱIIȬAȱthatȱweȱagreeȱwithȱtheȱdistrictȱcourtȱ
thatȱtheȱSupremeȱCourt’sȱsummaryȱaĜrmanceȱinȱSeaȱPakȱconȬ
trolsȱthisȱcase.ȱInȱPartȱIIȬB,ȱweȱexplainȱwhyȱSeaȱPakȱętsȱcomȬ
fortablyȱwithȱbroaderȱpreemptionȱprinciplesȱofȱlaborȱlaw.ȱInȱ
PartȱIIȬC,ȱweȱaddressȱandȱrejectȱfurtherȱargumentsȱbyȱtheȱStateȱ
forȱrecognizingȱanȱexceptionȱfromȱthoseȱprinciplesȱhere.ȱ
     A. SeaȱPak’sȱContinuingȱForceȱ
    Theȱ proceduralȱ historyȱ ofȱ theȱ Seaȱ Pakȱ decisionȱ wasȱ aȱ bitȱ
unusual,ȱ butȱ theȱ districtȱ courtȱ correctlyȱ foundȱ thatȱ theȱ SuȬ
premeȱCourt’sȱsummaryȱaĜrmanceȱinȱSeaȱPakȱcontrolsȱhere.ȱ
Theȱ Supremeȱ Courtȱ hasȱ instructedȱ thatȱ “theȱ lowerȱ [federal]ȱ
courtsȱareȱboundȱbyȱsummaryȱdecisionsȱbyȱthisȱCourtȱ‘untilȱ
suchȱ timeȱ asȱ theȱ Courtȱ informsȱ (them)ȱ thatȱ (they)ȱ areȱ not,’”ȱ
becauseȱ“votesȱtoȱaĜrmȱsummarilyȱ…ȱareȱvotesȱonȱtheȱmeritsȱ
ofȱ aȱ case,”ȱ justȱ likeȱ thoseȱ accompaniedȱ byȱ fullyȱ reasonedȱ
Courtȱopinions.ȱHicksȱv.ȱMiranda,ȱ422ȱU.S.ȱ332,ȱ344–45ȱ(1975)ȱ
(bracketsȱandȱcitationȱomiĴed).ȱ
    Toȱ understandȱ theȱ eěectȱ ofȱ aȱ summaryȱ aĜrmance,ȱ itȱ isȱ
usuallyȱnecessaryȱtoȱlookȱcloselyȱatȱtheȱdecisionȱthatȱwasȱsumȬ
marilyȱaĜrmed.ȱInȱSeaȱPak,ȱtheȱSouthernȱDistrictȱofȱGeorgiaȱ
foundȱaȱGeorgiaȱlawȱveryȱsimilarȱtoȱActȱ1ȱpreempted.ȱAȱGeorȬ
giaȱlawȱrequiredȱemployersȱtoȱtreatȱduesȬcheckoěȱauthorizaȬ
tionsȱasȱrevocableȱatȱwill.ȱTheȱdistrictȱcourtȱfoundȱthatȱproviȬ
sionȱwasȱ“completelyȱatȱodds”ȱandȱ“inȱdirectȱconĚict”ȱwithȱ29ȱ
U.S.C.ȱ§ȱ186(c)(4),ȱwhich,ȱasȱnoted,ȱpermitsȱduesȬcheckoěsȱtoȱ
beȱirrevocableȱforȱupȱtoȱoneȱyear.ȱ300ȱF.ȱSupp.ȱ1197,ȱ1200ȱ(S.D.ȱ
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Ga.ȱ1969).2ȱ“AȱunionȱisȱthusȱpermiĴedȱtoȱbargainȱforȱandȱreȬ
ceiveȱaȱcheckoěȱofȱduesȱunderȱauthorizationsȱwhichȱmayȱbeȱ
irrevocableȱforȱasȱlongȱasȱoneȱyear.”ȱId.ȱThisȱTaftȬHartleyȱproȬ
visionȱmeantȱ“thatȱnoȱroomȱremainsȱforȱstateȱregulationȱinȱtheȱ
sameȱęeld.”ȱId.3ȱȱ
    TheȱdistrictȱcourtȱinȱSeaȱPakȱalsoȱnotedȱthatȱJudgeȱNolandȱ
ofȱtheȱSouthernȱDistrictȱofȱIndianaȱhadȱreachedȱtheȱsameȱconȬ
clusionȱ onȱ theȱ sameȱ preemptionȱ question,ȱ holdingȱ thatȱ
§ȱ186(c)(4)ȱ preemptedȱ anȱ Indianaȱ wageȱ assignmentȱ lawȱ reȬ
quiringȱassignmentsȱtoȱbeȱrevocableȱatȱwill.ȱId.ȱatȱ1198–99,ȱcitȬ
ingȱInternationalȱB’hoodȱofȱOperativeȱPoĴersȱv.ȱTellȱCityȱChairȱCo.,ȱ
295ȱF.ȱSupp.ȱ961,ȱ965ȱ(S.D.ȱInd.ȱ1968)ȱ(§ȱ186ȱ“specięesȱtheȱconȬ
ditionsȱnecessaryȱforȱaȱvalidȱcheckȬoě,ȱandȱ…ȱisȱsuĜcientlyȱ


ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
     2ȱTheȱdistrictȱcourtȱalsoȱnotedȱthatȱtheȱoriginalȱHouseȬpassedȱversionȱ

ofȱ §ȱ 186(c)(4)ȱ wouldȱ haveȱ madeȱ duesȬcheckoffsȱ “revocableȱ byȱ theȱ emȬ
ployeeȱatȱanyȱtimeȱuponȱthirtyȱdaysȱwrittenȱnoticeȱtoȱtheȱemployer,”ȱSeaȱ
Pak,ȱ 300ȱ F.ȱ Supp.ȱ atȱ 1200—theȱ sameȱ policyȱ Wisconsinȱ hasȱ attemptedȱ toȱ
imposeȱhere.ȱTheȱfinalȱversionȱofȱ§ȱ186(c)(4)ȱallowedȱtheȱmaximumȱperiodȱ
toȱbeȱasȱlongȱasȱaȱfullȱyear.ȱTheȱdistrictȱcourtȱconcluded:ȱ“IȱcannotȱbeȱperȬ
suadedȱthatȱFederalȱpreemptionȱfailsȱmerelyȱbecauseȱCongressȱsawȱfitȱtoȱ
adoptȱaȱlessȱliberalȱpowerȱofȱrevocation”ȱinȱsettingȱgroundȱrulesȱforȱduesȬ
checkoffȱauthorizations.ȱId.ȱȱȱȱ
     3ȱ Inȱ soȱ holding,ȱ theȱ Seaȱ Pakȱ districtȱ courtȱ interpretedȱ §ȱ186(c)(4)ȱ theȱ

sameȱwayȱtheȱSupremeȱCourtȱhadȱalreadyȱreadȱaȱnearlyȱidenticalȱproviȬ
sionȱinȱtheȱRailwayȱLaborȱActȱinȱFelter,ȱseeȱ359ȱU.S.ȱatȱ330–31,ȱdiscussedȱ
belowȱatȱ20–23.ȱTheȱSeaȱPakȱdistrictȱcourt’sȱreasoningȱalsoȱcorrectlyȱanticiȬ
patedȱ theȱ Supremeȱ Court’sȱ decisionȱ sevenȱ yearsȱ laterȱ inȱ Machinists,ȱ 427ȱ
U.S.ȱatȱ153,ȱwhereȱtheȱCourtȱfoundȱthatȱcertainȱaspectsȱofȱtheȱ“federalȱregȬ
ulatoryȱ scheme”ȱ ofȱ laborȬmanagementȱ relationsȱ “leaveȱ theȱ partiesȱ free”ȱ
fromȱ“stateȱattemptsȱtoȱinfluenceȱtheȱsubstantiveȱtermsȱofȱcollectiveȱbarȬ
gainingȱagreements”ȱandȱfromȱsuchȱattemptsȱbyȱtheȱNationalȱLaborȱRelaȬ
tionsȱBoard.ȱȱ
10ȱ                                                                 No.ȱ17Ȭ1178ȱ

pervasiveȱandȱencompassing”ȱtoȱpreemptȱStateȱwageȱassignȬ
mentȱlaws).ȱ
    TheȱSeaȱPakȱdistrictȱcourtȱalsoȱhadȱtoȱdecideȱwhetherȱtheȱ
TaftȬHartleyȱprovisionȱinȱ29ȱU.S.C.ȱ§ȱ164(b),ȱwhichȱpermiĴedȱ
Statesȱtoȱoutlawȱ“agreementsȱrequiringȱunionȱmembershipȱasȱ
aȱ conditionȱ ofȱ employment,”ȱ alsoȱ allowedȱ aȱ Stateȱ toȱ enactȱ
checkȬoěȱ provisionsȱ contraryȱ toȱ whatȱ isȱ providedȱ inȱ
§ȱ186(c)(4).ȱ300ȱF.ȱSupp.ȱatȱ1199–1200.ȱTheȱcourtȱfoundȱthatȱtheȱ
State’sȱ duesȬcheckoěȱ regulationȱ wasȱ notȱ savedȱ byȱ §ȱ164(b):ȱ
“Checkoěȱauthorizationsȱirrevocableȱforȱoneȱyearȱafterȱ[theirȱ
authorization]ȱdateȱdoȱnotȱamountȱtoȱcompulsoryȱunionismȱ
asȱ toȱ employeesȱ whoȱ wishȱ toȱ withdrawȱ fromȱ membershipȱ
priorȱtoȱthatȱtime.”ȱId.ȱatȱ1201.ȱȱ
    TheȱFifthȱCircuitȱaĜrmedȱperȱcuriam,ȱadoptingȱtheȱdistrictȱ
court’sȱopinion.ȱ423ȱF.2dȱ1229,ȱ1230ȱ(5thȱCir.ȱ1970).ȱTheȱ SuȬ
premeȱCourtȱaĜrmedȱthatȱdecisionȱsummarily,ȱwithoutȱopinȬ
ion.ȱ 400ȱ U.S.ȱ 985ȱ (1971).ȱ Bothȱ preemptionȱ argumentsȱ adȬ
vancedȱinȱthisȱcaseȱwereȱ“presentedȱandȱnecessarilyȱdecided”ȱ
byȱtheȱCourt’sȱsummaryȱaĜrmanceȱinȱSeaȱPak;ȱtheyȱdidȱnotȱ
“merelyȱlurkȱinȱtheȱrecord.”ȱSeeȱIllinoisȱStateȱBd.ȱofȱElectionsȱv.ȱ
SocialistȱWorkersȱParty,ȱ440ȱU.S.ȱ173,ȱ182–83ȱ(1979)ȱ(precedenȬ
tialȱeěectȱofȱsummaryȱaĜrmanceȱextendsȱonlyȱtoȱ“theȱpreciseȱ
issuesȱ presentedȱ andȱ necessarilyȱ decided,”ȱ notȱ toȱ questionsȱ
thatȱ“merelyȱlurkȱinȱtheȱrecord”).ȱSeaȱPakȱcontrolsȱthisȱcase.4ȱȱ

ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
      4ȱTheȱemployerȬappellantȱinȱSeaȱPakȱpresentedȱtheȱfollowingȱquestionsȱ

toȱtheȱSupremeȱCourt,ȱinvokingȱmandatoryȱappellateȱjurisdictionȱunderȱ
28ȱU.S.C.ȱ§ȱ1254(2)ȱ(1970):ȱȱ
      A.ȱWhetherȱtheȱGeorgiaȱStatuteȱrequiringȱthatȱduesȱassignmentsȱ
      beȱ revocableȱ atȱ willȱ isȱ inȱ conĚictȱ withȱ orȱ preemptedȱ byȱ Sectionȱ
      302(c)(4)ȱofȱtheȱLaborȱManagementȱRelationsȱAct.ȱ
No.ȱ17Ȭ1178ȱ                                                                       11

    TheȱStateȱargues,ȱthough,ȱthatȱevenȱifȱSeaȱPakȱapplies,ȱsubȬ
sequentȱ developmentsȱ inȱ theȱ Supremeȱ Court’sȱ caseȱ lawȱ onȱ
preemptionȱmeanȱthatȱSeaȱPakȱisȱnoȱlongerȱbinding.ȱLanguageȱ
inȱHicksȱv.ȱMirandaȱmayȱoěerȱaȱsmallȱopeningȱforȱlowerȱcourtsȱ
toȱdepartȱfromȱsummaryȱdecisionsȱ“whenȱdoctrinalȱdevelopȬ
mentsȱindicateȱotherwise.”ȱ422ȱU.S.ȱatȱ344,ȱquotingȱPortȱAuȬ
thorityȱBondholdersȱProtectiveȱComm.ȱv.ȱPortȱofȱNewȱYorkȱAuth.,ȱ
387ȱF.2dȱ259,ȱ263ȱn.3ȱ(2dȱCir.ȱ1967)ȱ(addressingȱdismissalsȱforȱ
lackȱofȱsubstantialȱfederalȱquestions),ȱandȱcitingȱDoeȱv.ȱHodgȬ
son,ȱ478ȱF.2dȱ537,ȱ539ȱ(2dȱCir.ȱ1973)ȱ(lowerȱcourtsȱshouldȱfolȬ
lowȱsummaryȱdecisionsȱuntilȱSupremeȱCourtȱsaysȱotherwise).ȱ
Weȱfoundȱsuchȱ anȱopeningȱ inȱBaskinȱv.ȱBogan,ȱ766ȱF.3dȱ648,ȱ
659ȱ(7thȱCir.ȱ2014),ȱęndingȱthatȱaȱ1972ȱsummaryȱdismissalȱforȱ
wantȱ ofȱ aȱ substantialȱ federalȱ questionȱ rejectingȱ aȱ constituȬ
tionalȱclaimȱforȱsameȬsexȱmarriageȱwasȱnoȱlongerȱbindingȱinȱ
lightȱofȱaȱconsistentȱseriesȱofȱmoreȱrecentȱSupremeȱCourtȱdeȬ
cisionsȱrecognizingȱcertainȱsexualȱorientationȱrightsȱunderȱtheȱ
Constitution.ȱ Toȱ theȱ extentȱ thereȱ mightȱ beȱ anyȱ theoreticalȱ
roomȱforȱdepartingȱfromȱtheȱsummaryȱaĜrmanceȱinȱSeaȱPak,ȱ
itȱwouldȱtakeȱmuchȱstrongerȱsignalsȱfromȱtheȱCourtȱtoȱdoȱso.ȱ

ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
     B.ȱWhetherȱtheȱGeorgiaȱStatuteȱisȱaȱvalidȱexerciseȱofȱtheȱauthorityȱ
     reservedȱtoȱtheȱGeorgiaȱlegislatureȱbyȱSectionȱ14(b)ȱofȱtheȱLaborȱ
     Managementȱ Relationsȱ Act,ȱ andȱ is,ȱ thereforeȱ notȱ savedȱ fromȱ
     preemption.ȱ
StatementȱasȱtoȱJurisdictionȱforȱtheȱAppellantȱatȱ5,ȱSeaȱPak,ȱ400ȱU.S.ȱ985ȱ
(No.ȱ70Ȭ463),ȱ1970ȱWLȱ136846,ȱatȱ*4.ȱTheȱissuesȱpresentedȱhereȱareȱindisȬ
tinguishable.ȱTheȱGeorgiaȱlawȱmadeȱduesȬcheckoffsȱ“revocableȱatȱtheȱwillȱ
ofȱtheȱemployee,”ȱSeaȱPak,ȱ300ȱF.ȱSupp.ȱ1199,ȱwhileȱWis.ȱStat.ȱ§ȱ111.06(1)(i)ȱ
grantsȱ anȱ atȬwillȱ cancellationȱ rightȱ toȱ employees,ȱ toȱ takeȱ effectȱ inȱ thirtyȱ
days.ȱThisȱthirtyȬdayȱdelayȱisȱaȱdistinctionȱwithoutȱaȱdifference.ȱBothȱstatȬ
utesȱ operateȱ toȱ shortenȱ considerablyȱ theȱ irrevocabilityȱ periodȱ ofȱ duesȬ
checkoffȱagreementsȱotherwiseȱpermittedȱunderȱTaftȬHartley.ȱ
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AsȱweȱexplainȱinȱPartȱIIȬB,ȱthereȱhasȱbeenȱnoȱcomparableȱseaȬ
changeȱinȱlaborȬlawȱpreemptionȱorȱpreemptionȱmoreȱgenerȬ
allyȱthatȱwouldȱjustifyȱaȱlowerȱcourtȱinȱdepartingȱfromȱSeaȱPak.ȱȱ
    Inȱaddition,ȱtoȱagreeȱwithȱtheȱStateȱandȱreverseȱhere,ȱweȱ
wouldȱhaveȱtoȱsplitȱwithȱtwoȱotherȱcircuits.ȱSeeȱUnitedȱAuto.,ȱ
Aerospaceȱ&ȱAgric.ȱImplementȱWorkersȱofȱAm.ȱLocalȱ3047ȱv.ȱHarȬ
dinȱCounty,ȱ842ȱF.3dȱ407,ȱ410,ȱ421–22ȱ(6thȱCir.ȱ2016)ȱ(followingȱ
Seaȱ Pakȱ toȱ invalidateȱ countyȱ ordinanceȱ regulatingȱ duesȬ
checkoěȱauthorizations);ȱN.L.R.B.ȱv.ȱShenȬMarȱFoodȱProducts,ȱ
Inc.,ȱ557ȱF.2dȱ396,ȱ399ȱ(4thȱCir.ȱ1977)ȱ(agreeingȱwithȱNLRBȱthatȱ
“theȱ checkȬoěȱ provisionȱ wasȱ notȱ aȱ Unionȱ securityȱ deviceȱ
whichȱwouldȱbeȱsubjectȱtoȱStateȱlawȱunderȱSectionȱ14(b)”ȱofȱ
TaftȬHartley);ȱ seeȱ alsoȱ N.L.R.B.ȱ v.ȱAtlantaȱ Printingȱ Specialtiesȱ
andȱ Paperȱ Productsȱ Unionȱ 527,ȱ 523ȱ F.2dȱ 783,ȱ 784,ȱ 787–88ȱ (5thȱ
Cir.ȱ1975)ȱ(enforcingȱNLRBȱorderȱtoȱemployerȱandȱunionȱtoȱ
honorȱduesȬcheckoěȱcancellationsȱtenderedȱduringȱannualȱesȬ
capeȱperiodȱofȱęfteenȱdays).ȱWeȱagreeȱwithȱtheȱSixthȱCircuitȱ
thatȱ Seaȱ Pak’sȱ “authorityȱ remainsȱ essentiallyȱ unchallenged”ȱ
today.ȱHardinȱCounty,ȱ842ȱF.3dȱatȱ421.ȱ
      B.ȱ LaborȱLawȱPreemptionȱMoreȱGenerallyȱ
         1.ȱ MachinistsȱandȱGarmonȱPreemptionȱ
    TheȱStateȱurgesȱusȱtoȱdecideȱthisȱcaseȱunderȱmoreȱgeneralȱ
ęeldȬȱ orȱ conĚictȬpreemptionȱ principles.ȱ Weȱ conclude,ȱ howȬ
ever,ȱthatȱSeaȱPakȱisȱconsistentȱwithȱtheȱCourt’sȱotherȱlaborȱlawȱ
preemptionȱ decisions,ȱ whichȱ provideȱ quiteȱ clearȱ guidanceȱ
here.ȱInȱMurphyȱv.ȱNationalȱCollegiateȱAthleticȱAss’n,ȱ138ȱS.ȱCt.ȱ
1461,ȱ1480ȱ(2018),ȱtheȱSupremeȱCourtȱexplainedȱthatȱallȱformsȱ
ofȱfederalȱpreemptionȱ“workȱinȱtheȱsameȱway:ȱCongressȱenȬ
actsȱaȱlawȱthatȱimposesȱrestrictionsȱorȱconfersȱrightsȱonȱprivateȱ
actors;ȱaȱstateȱlawȱconfersȱrightsȱorȱimposesȱrestrictionsȱthatȱ
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conĚictȱ withȱ theȱ federalȱ law;ȱ andȱ thereforeȱ theȱ federalȱ lawȱ
takesȱprecedenceȱandȱtheȱstateȱlawȱisȱpreempted.”ȱMostȱreleȬ
vantȱ forȱ thisȱ case,ȱ “ęeldȱ preemption”ȱ occursȱ “whenȱ federalȱ
lawȱoccupiesȱaȱ‘ęeld’ȱofȱregulationȱ‘soȱcomprehensivelyȱthatȱ
itȱhasȱleftȱnoȱroomȱforȱsupplementaryȱstateȱlegislation.’”ȱId.,ȱ
quotingȱR.J.ȱReynoldsȱTobaccoȱCo.ȱv.ȱDurhamȱCounty,ȱ479ȱU.S.ȱ
130,ȱ140ȱ(1986).ȱFederalȱstatutesȱthatȱpreemptȱaȱęeldȱ“reĚect[]ȱ
aȱ congressionalȱ decisionȱ toȱ forecloseȱ anyȱ stateȱ regulationȱ inȱ
theȱarea,ȱevenȱifȱitȱisȱparallelȱtoȱfederalȱstandards.”ȱMurphy,ȱ
138ȱ S.ȱ Ct.ȱ atȱ 1481,ȱ quotingȱ Arizonaȱ v.ȱ Unitedȱ States,ȱ 567ȱ U.S.ȱ
387,ȱ401ȱ(2012).ȱ
    Overȱ theȱ decadesȱ sinceȱenactmentȱofȱtheȱ NationalȱLaborȱ
Relationsȱ Actȱ andȱ theȱ TaftȬHartleyȱAct,ȱ theȱ Supremeȱ Courtȱ
hasȱ appliedȱ ęeldȱ preemptionȱ inȱ aȱ hostȱ ofȱ casesȱ interpretingȱ
thoseȱlaws.ȱTheȱresultingȱbodyȱofȱlawȱreĚectsȱmanyȱindividȬ
ualȱapplicationsȱofȱtheȱgeneralȱprinciplesȱofȱpreemption,ȱandȱ
laborȬlawȱpreemptionȱcasesȱspecięcallyȱprovideȱtheȱmostȱreȬ
liableȱguidanceȱforȱusȱinȱthisȱcase,ȱifȱanyȱwereȱneededȱbeyondȱ
theȱCourt’sȱsummaryȱaĜrmanceȱinȱSeaȱPak.ȱ
    Laborȱlawȱpreemptionȱapplies,ȱtoȱputȱitȱbroadly,ȱwhenȱaȱ
Stateȱactsȱ“asȱregulatorȱofȱprivateȱconduct”ȱwithȱanȱ“interestȱ
inȱseĴingȱpolicy”ȱthatȱisȱdiěerentȱfromȱtheȱpolicyȱofȱtheȱfedȬ
eralȱgovernment.ȱBuildingȱ&ȱConstr.ȱTradesȱCouncilȱv.ȱAssociȬ
atedȱBuildersȱ&ȱContractorsȱofȱMass./R.ȱI.,ȱInc.,ȱ507ȱU.S.ȱ218,ȱ229ȱ
(1993)ȱ (Bostonȱ Harbor).ȱ Mostȱ relevantȱ hereȱ areȱ twoȱ formsȱ ofȱ
ęeldȱpreemptionȱinȱlaborȱlaw,ȱknownȱasȱGarmonȱpreemptionȱ
andȱ Machinistsȱ preemption.ȱ Theȱ Supremeȱ Courtȱ hasȱ exȬ
plained:ȱȱ
           Theȱęrst,ȱknownȱasȱGarmonȱpreȬemption,ȱseeȱ
        SanȱDiegoȱBuildingȱTradesȱCouncilȱv.ȱGarmon,ȱ359ȱ
14ȱ                                                     No.ȱ17Ȭ1178ȱ

      U.S.ȱ236ȱ(1959),ȱ“isȱintendedȱtoȱprecludeȱstateȱinȬ
      terferenceȱ withȱ theȱ Nationalȱ Laborȱ Relationsȱ
      Boardȇsȱ interpretationȱ andȱ activeȱ enforcementȱ
      ofȱ theȱ ‘integratedȱ schemeȱ ofȱ regulation’ȱ estabȬ
      lishedȱbyȱtheȱ[NationalȱLaborȱRelationsȱActȱ(orȱ
      NLRA,ȱalsoȱknownȱasȱtheȱWagnerȱAct)].”ȱGoldenȱ
      Stateȱ Transitȱ Corp.ȱ v.ȱ LosȱAngeles,ȱ 475ȱ U.S.ȱ 608,ȱ
      613ȱ(1986)ȱ(GoldenȱStateȱI).ȱToȱthisȱend,ȱGarmonȱ
      preȬemptionȱforbidsȱStatesȱtoȱ“regulateȱactivityȱ
      thatȱtheȱNLRAȱprotects,ȱprohibits,ȱorȱarguablyȱ
      protectsȱorȱprohibits.”ȱWisconsinȱDept.ȱofȱIndusȬ
      tryȱv.ȱGouldȱInc.,ȱ475ȱU.S.ȱ282,ȱ286ȱ(1986).ȱTheȱsecȬ
      ond,ȱknownȱasȱMachinistsȱpreȬemption,ȱforbidsȱ
      bothȱ theȱ Nationalȱ Laborȱ Relationsȱ Boardȱ
      (NLRB)ȱandȱStatesȱtoȱregulateȱconductȱthatȱConȬ
      gressȱintendedȱ“beȱunregulatedȱbecauseȱleftȱ‘toȱ
      beȱ controlledȱ byȱ theȱ freeȱ playȱ ofȱ economicȱ
      forces.’”ȱMachinistsȱv.ȱWisconsinȱEmploymentȱReȬ
      lationsȱCommȇn,ȱ427ȱU.S.ȱ132,ȱ140ȱ(1976)ȱ(quotingȱ
      NLRBȱ v.ȱ Nash–Finchȱ Co.,ȱ 404ȱ U.S.ȱ 138,ȱ 144ȱ
      (1971)).ȱMachinistsȱpreȬemptionȱisȱbasedȱonȱtheȱ
      premiseȱthatȱ“‘CongressȱstruckȱaȱbalanceȱofȱproȬ
      tection,ȱprohibition,ȱandȱlaissezȬfaireȱinȱrespectȱ
      toȱ unionȱ organization,ȱ collectiveȱ bargaining,ȱ
      andȱlaborȱdisputes.’”ȱ427ȱU.S.,ȱatȱ140,ȱn.ȱ4ȱ(quotȬ
      ingȱ[Archibald]ȱCox,ȱLaborȱLawȱPreemptionȱReȬ
      visited,ȱ85ȱHarv.ȱL.ȱRev.ȱ1337,ȱ1352ȱ(1972)).ȱ
ChamberȱofȱCommerceȱv.ȱBrown,ȱ554ȱU.S.ȱ60,ȱ65ȱ(2008);ȱseeȱalsoȱ
520ȱSouthȱMichiganȱAve.ȱAssoc.ȱv.ȱShannon,ȱ549ȱF.3dȱ1119,ȱ1125–
26ȱ (7thȱ Cir.ȱ 2008)ȱ (summarizingȱ Garmonȱ andȱ Machinistsȱ
preemptionȱdoctrines).ȱ
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     BothȱtheȱGarmonȱandȱMachinistsȱdoctrinesȱapplyȱbroadlyȱ
toȱ theȱ Wagnerȱ (NLRA)ȱ andȱ TaftȬHartleyȱActs:ȱ “theȱ objectȱ ofȱ
laborȱpreȬemptionȱanalysis,”ȱaccordingȱtoȱtheȱCourt,ȱisȱ“givȬ
ingȱeěectȱtoȱCongress’ȱintentȱinȱenacting”ȱprovisionsȱofȱ“theȱ
WagnerȱandȱTaftȬHartleyȱActs”ȱasȱstatementsȱofȱnationalȱlaȬ
borȬmanagementȱ policy.ȱ Brown,ȱ 554ȱ U.S.ȱ atȱ 73;ȱ seeȱ alsoȱ BelȬ
knap,ȱInc.ȱv.ȱHale,ȱ463ȱU.S.ȱ491,ȱ524–25ȱ(1983)ȱ(referringȱtoȱ“theȱ
Wagnerȱ andȱ TaftȬHartleyȱActs”ȱ asȱ aȱ cohesiveȱ whole),ȱ citingȱ
N.L.R.B.ȱv.ȱInsuranceȱAgents,ȱ361ȱU.S.ȱ477,ȱ489ȱ(1960);ȱMachinȬ
ists,ȱ427ȱU.S.ȱatȱ141ȱ(same).ȱ
    Machinistsȱ preemptionȱ isȱ quiteȱ broad.ȱ Itȱ recognizesȱ thatȱ
federalȱ laborȱ statutesȱ “specięcallyȱ conferredȱ onȱ employersȱ
andȱ employees”ȱ aȱ rightȱ toȱ determineȱ certainȱ questionsȱ
throughȱ bargainingȱ andȱ theȱ useȱ ofȱ otherȱ “permissibleȱ ecoȬ
nomicȱtactics,”ȱandȱtoȱbeȱfreeȱfromȱgovernmentȱęatȱinȱęndingȱ
solutions.ȱGoldenȱStateȱTransitȱCorp.ȱv.ȱCityȱofȱLosȱAngeles,ȱ493ȱ
U.S.ȱ103,ȱ112–13ȱ(1989)ȱ(GoldenȱStateȱII)ȱ(whereȱMachinistsȱapȬ
plies,ȱitȱextendsȱaȱ rightȱ enforceableȱunderȱ42ȱU.S.C.ȱ§ȱ1983).ȱ
Althoughȱ“theȱruleȱofȱtheȱMachinistsȱcaseȱisȱnotȱsetȱforthȱinȱtheȱ
specięcȱtextȱofȱanȱenumeratedȱsectionȱofȱtheȱNLRA,”ȱthatȱstatȬ
ute’sȱ“languageȱandȱstructure”ȱoěerȱ“aȱguaranteeȱofȱfreedomȱ
forȱprivateȱconductȱthatȱtheȱStateȱmayȱnotȱabridge.”ȱId.ȱatȱ111–
12.ȱMachinistsȱinstructsȱthatȱbothȱtheȱNLRBȱandȱtheȱStatesȱ“areȱ
withoutȱauthorityȱtoȱaĴemptȱtoȱintroduceȱsomeȱstandardȱofȱ
properlyȱbalancedȱbargainingȱpower”ȱorȱtoȱimposeȱ“anȱidealȱ
orȱbalancedȱstateȱofȱcollectiveȱbargaining”ȱbecauseȱCongressȱ
intendedȱtoȱleaveȱsuchȱbalancingȱtoȱlaborȱandȱmanagement.ȱ
Machinists,ȱ427ȱU.S.ȱatȱ149–50ȱ(quotationsȱandȱcitationsȱomitȬ
ted).ȱ“[T]heȱlegislativeȱpurpose”ȱasȱdeterminedȱfromȱtheȱtextȱ
andȱstructureȱ ofȱtheȱWagnerȱandȱTaftȬHartleyȱActsȱ“mayȱ …ȱ
dictateȱthatȱcertainȱactivityȱneitherȱprotectedȱnorȱprohibited”ȱ
byȱfederalȱlaborȱlawȱmayȱ“beȱdeemedȱprivilegedȱagainstȱstateȱ
16ȱ                                                    No.ȱ17Ȭ1178ȱ

regulation.”ȱSeeȱid.ȱatȱ141,ȱquotingȱHannaȱMiningȱCo.ȱv.ȱMarineȱ
Engineers,ȱ382ȱU.S.ȱ181,ȱ187ȱ(1965).ȱȱ
    Forȱexample,ȱweȱappliedȱMachinistsȱpreemptionȱtoȱanȱIlliȬ
noisȱlawȱthatȱrequiredȱcemeteriesȱandȱgravediggersȱtoȱnegotiȬ
ateȱtoȱestablishȱaȱpoolȱofȱworkersȱwhoȱwouldȱ“performȱreliȬ
giouslyȱ requiredȱ intermentsȱduringȱlaborȱdisputes.”ȱ Cannonȱ
v.ȱEdgar,ȱ33ȱF.3dȱ880,ȱ882,ȱ885–86ȱ(7thȱCir.ȱ1994).ȱDespiteȱtheȱ
Stateȱ law’sȱ benignȱ purposeȱ toȱ respectȱ certainȱ faiths’ȱ beliefsȱ
concerningȱtimelyȱburial,ȱtheȱlawȱimpermissiblyȱ“meddle[d]ȱ
withȱ theȱ collectiveȱ bargainingȱ process”ȱ byȱ “directlyȱ interȬ
fer[ing]ȱwithȱtheȱabilityȱof”ȱlaborȱandȱmanagementȱ“toȱreachȱ
anȱ agreementȱ unfeĴeredȱ byȱ theȱ (labor)ȱ restrictionsȱ ofȱ stateȱ
law.”ȱ Id.ȱ atȱ 886;ȱ seeȱ alsoȱ id.ȱ atȱ 885ȱ (ęndingȱ sameȱ statuteȱ
preemptedȱunderȱGarmonȱasȱwell).ȱSimilarly,ȱweȱappliedȱMaȬ
chinistsȱpreemptionȱtoȱanȱIllinoisȱlawȱthatȱrequiredȱhotelsȱtoȱ
giveȱ custodialȱ workersȱ specięedȱ breakȱ periods,ȱ ratherȱ thanȱ
leaveȱtheȱissueȱtoȱcollectiveȱbargaining.ȱWeȱfoundȱthatȱtheȱlawȱ
wasȱ notȱ aȱ minimumȱ laborȱ standardȱ butȱ aȱ specięcȱ intrusionȱ
intoȱcollectiveȱbargainingȱinȱaȱparticularȱindustry.ȱ520ȱS.ȱMichȬ
iganȱAve.,ȱ549ȱF.3dȱatȱ1121.ȱ
    EvenȱStateȱlawsȱwithȱindirectȱeěectsȱonȱbargainingȱcanȱbeȱ
preemptedȱunderȱMachinists.ȱThoughȱMachinistsȱitselfȱwasȱdiȬ
rectedȱ atȱ aȱ union’sȱ “refusalȱ toȱ workȱ overtime”ȱ andȱ theȱ ecoȬ
nomicȱpressureȱthatȱtheȱrefusalȱplacedȱonȱtheȱemployer,ȱseeȱ
427ȱU.S.ȱatȱ154,ȱ155,ȱitȱbarsȱStateȱregulationȱinȱanyȱ“zoneȱproȬ
tectedȱandȱreservedȱforȱmarketȱfreedom”ȱbyȱfederalȱlaborȱlaw.ȱ
BostonȱHarbor,ȱ507ȱU.S.ȱatȱ226–27ȱ(cityȱgovernmentsȱareȱ“preȬ
emptedȱfromȱconditioningȱrenewalȱofȱaȱtaxicabȱoperatingȱliȬ
censeȱuponȱtheȱseĴlementȱofȱaȱlaborȱdispute”),ȱcitingȱGoldenȱ
StateȱI,ȱ475ȱU.S.ȱatȱ618.ȱInȱsuchȱzones,ȱtheȱCourtȱobservedȱinȱ
Brown,ȱ“theȱStatesȱhaveȱnoȱmoreȱauthorityȱthanȱtheȱBoardȱtoȱ
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upsetȱtheȱbalanceȱthatȱCongressȱhasȱstruckȱbetweenȱlaborȱandȱ
management.”ȱ554ȱU.S.ȱatȱ74ȱ(bracketsȱomiĴed),ȱquotingȱMetȬ
ropolitanȱLifeȱIns.ȱCo.ȱv.ȱMassachuseĴs,ȱ471ȱU.S.ȱ724,ȱ751ȱ(1985).ȱ
    BeforeȱturningȱtoȱmoreȱspecięcȱdiscussionȱofȱGarmonȱandȱ
MachinistsȱpreemptionȱprinciplesȱasȱappliedȱtoȱduesȬcheckoěȱ
authorization,ȱ weȱ addressȱ theȱ State’sȱ broadestȱ argument,ȱ
whichȱisȱthatȱtheȱcourtȱshouldȱapplyȱaȱmuchȱmoreȱdemandingȱ
standardȱforȱpreemptionȱthanȱwasȱappliedȱinȱSeaȱPak,ȱGarmon,ȱ
orȱMachinists.ȱTheȱStateȱcitesȱandȱquotesȱJusticeȱKagan’sȱconȬ
curringȱopinionȱinȱKurnsȱv.ȱRailroadȱFrictionȱProductsȱCorp.,ȱ565ȱ
U.S.ȱ625,ȱ638ȱ(2012),ȱwhichȱobservesȱthatȱsomeȱolderȱpreempȬ
tionȱcasesȱmayȱseemȱanachronismsȱinȱtermsȱofȱnewerȱpreempȬ
tionȱprinciplesȱandȱprecedents.ȱ
    Kurnsȱ itselfȱ providesȱ theȱ bestȱ answerȱ toȱ theȱ argument.ȱ
BothȱtheȱKurnsȱmajorityȱandȱJusticeȱKaganȱfollowedȱtheȱarguȬ
ablyȱ “anachronistic”ȱ decisionȱ inȱ Napierȱ v.ȱAtlanticȱ Coastȱ Lineȱ
Railroadȱ Co.,ȱ 272ȱ U.S.ȱ 605ȱ (1926)ȱ (applyingȱ ęeldȱ preemptionȱ
underȱ Locomotiveȱ InspectionȱActȱ forȱ railroadȱ safetyȱ equipȬ
ment).ȱ Theyȱ didȱ soȱ becauseȱ Napierȱ hadȱ establishedȱ theȱ
preemptiveȱforceȱofȱthatȱstatuteȱdecadesȱearlierȱandȱCongressȱ
hadȱnotȱactedȱtoȱchangeȱthatȱlaw.ȱ565ȱU.S.ȱatȱ633ȱ(majority);ȱid.ȱatȱ
638ȱ(Kagan,ȱJ.,ȱconcurring).ȱAsȱinȱKurns,ȱtheȱSupremeȱCourtȱ
hasȱoftenȱobservedȱthatȱprinciplesȱofȱstareȱdecisisȱtakeȱonȱ“speȬ
cialȱ force”ȱ onȱ issuesȱ ofȱ statutoryȱ interpretation.ȱ Theyȱ doȱ soȱ
preciselyȱbecauseȱCongressȱcanȱlegislateȱtoȱcorrectȱanȱerroneȬ
ousȱdecisionȱbyȱtheȱCourt.ȱE.g.,ȱGlobalȬTechȱAppliances,ȱInc.ȱv.ȱ
SEBȱS.A.,ȱ563ȱU.S.ȱ754,ȱ765ȱ(2011)ȱ(patentȱlaw);ȱIllinoisȱBrickȱCo.ȱ
v.ȱIllinois,ȱ431ȱU.S.ȱ720,ȱ736ȱ(1977)ȱ(antitrustȱlaw).ȱAȱcaseȱthatȱ
makesȱthatȱpointȱwithȱspecialȱforce,ȱbecauseȱCongressȱdidȱreȬ
spondȱwithȱnewȱlegislation,ȱisȱPaĴersonȱv.ȱMcLeanȱCreditȱUnȬ
18ȱ                                                    No.ȱ17Ȭ1178ȱ

ion,ȱ491ȱU.S.ȱ164,ȱ172–73ȱ(1989)ȱ(civilȱrightsȱlitigation),ȱsuperȬ
sededȱbyȱCivilȱRightsȱActȱofȱ1991,ȱasȱstatedȱinȱCBOCSȱWest,ȱ
Inc.ȱv.ȱHumphries,ȱ553ȱU.S.ȱ442,ȱ450ȱ(2008).ȱ
    TheȱState’sȱrelianceȱonȱmoreȱgeneralȱprinciplesȱofȱpreempȬ
tionȱ fromȱ otherȱ statutoryȱ contextsȱ thusȱ failsȱ toȱ engageȱ withȱ
theȱdoctrinalȱheartȱofȱthisȱcase,ȱwhichȱisȱtheȱdecadesȱofȱdeciȬ
sionsȱdecidingȱtheȱpreemptiveȱforceȱofȱtheȱWagnerȱandȱTaftȬ
HartleyȱActs.ȱTheȱissueȱbeforeȱusȱisȱtheȱpreemptiveȱscopeȱofȱ
theȱTaftȬHartleyȱAct,ȱsoȱtheȱmostȱrelevantȱguidesȱareȱtheȱSuȬ
premeȱ Court’sȱ decisionsȱ underȱ thatȱ statute.ȱ Moreover,ȱ oneȱ
cannotȱcallȱGarmonȱandȱMachinistsȱ“anachronisms”ȱwhenȱtheȱ
Courtȱhasȱbeenȱcitingȱandȱfollowingȱthemȱonȱaȱregularȱbasis.ȱ
See,ȱe.g.,ȱBrown,ȱ554ȱU.S.ȱatȱ66ȱ(2008ȱdecisionȱdiscussingȱbothȱ
andȱapplyingȱMachinistsȱpreemption);ȱMarquezȱv.ȱScreenȱActorsȱ
Guild,ȱInc.,ȱ525ȱU.S.ȱ33,ȱ49ȱ(1998)ȱ(applyingȱGarmonȱpreempȬ
tion);ȱGoldenȱStateȱI,ȱ475ȱU.S.ȱatȱ615–16ȱ(1986ȱdecisionȱapplyingȱ
Machinistsȱpreemption).ȱȱ
       2.ȱ PreemptionȱforȱDuesȬCheckoěȱRulesȱ
    Returningȱ toȱ theȱ textȱ ofȱ theȱ relevantȱ TaftȬHartleyȱ proviȬ
sion,ȱ29ȱU.S.C.ȱ§ȱ186(c)(4),ȱfederalȱlaborȱlawȱimposesȱonlyȱminȬ
imalȱrulesȱforȱcollectiveȱbargainingȱonȱduesȬcheckoěȱauthoriȬ
zation.ȱFederalȱlawȱleavesȱotherȱdetailsȱforȱresolutionȱbyȱpriȬ
vateȱactors—employers,ȱunions,ȱandȱemployees—throughȱtheȱ
collectiveȱ bargainingȱ andȱ duesȬcheckoěȱ authorizationȱ proȬ
cesses.ȱȱ
    Sectionȱ186ȱwasȱenactedȱafterȱCongressȱhadȱgainedȱsomeȱ
experienceȱwithȱhowȱtheȱWagnerȱActȱworkedȱinȱpractice.ȱTheȱ
provisionȱ wasȱ intendedȱ “toȱ dealȱ withȱ problemsȱ peculiarȱ toȱ
collectiveȱbargaining”ȱandȱinȱparticularȱ“wasȱaimedȱatȱpracȬ
ticesȱwhichȱ Congressȱ consideredȱinimicalȱtoȱtheȱintegrityȱofȱ
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theȱcollectiveȱbargainingȱprocess.”ȱArroyoȱv.ȱUnitedȱStates,ȱ359ȱ
U.S.ȱ419,ȱ424–25ȱ(1959);ȱseeȱalsoȱUniteȱHereȱLocalȱ355ȱv.ȱMulhall,ȱ
571ȱU.S.ȱ83,ȱ84ȱ(2013)ȱ(Breyer,ȱJ.,ȱdissentingȱfromȱdenialȱofȱcerȬ
tiorari)ȱ(describingȱhowȱ§ȱ186ȱoperatesȱtoȱdiscourageȱcorrupȬ
tionȱofȱbargainingȱprocess).ȱTheȱbackersȱofȱ§ȱ186ȱ“wereȱconȬ
cernedȱwithȱcorruptionȱofȱcollectiveȱbargainingȱthroughȱbribȬ
eryȱ ofȱ employeeȱ representativesȱ byȱ employers”ȱ andȱ withȱ
otherȱ relatedȱ ęnancialȱ risks.ȱ Arroyo,ȱ 359ȱ U.S.ȱ atȱ 425–26.ȱ Theȱ
TaftȬHartleyȱActȱthusȱmadeȱitȱunlawfulȱforȱemployersȱtoȱdeȬ
liverȱ“anyȱmoneyȱorȱotherȱthingȱofȱvalueȱ…ȱtoȱanyȱlaborȱorȬ
ganization.”ȱ§ȱ186(a),ȱ(a)(2).ȱȱ
   Congressȱ didȱ notȱ intend,ȱ however,ȱ toȱ outlawȱ duesȬ
checkoěȱagreements.ȱTheyȱareȱnotȱaȱspecialȱopportunityȱforȱ
corruptionȱbutȱaȱconvenientȱwayȱforȱemployeesȱtoȱpayȱtheirȱ
unionȱdues.ȱSoȱCongressȱincludedȱthisȱexceptionȱtoȱtheȱantiȬ
corruptionȱprovision:ȱ
       TheȱprovisionsȱofȱthisȱsectionȱshallȱnotȱbeȱappliȬ
       cableȱ…ȱ
       (4)ȱ withȱ respectȱ toȱ moneyȱ deductedȱ fromȱ theȱ
       wagesȱofȱemployeesȱinȱpaymentȱofȱmembershipȱ
       duesȱinȱaȱlaborȱorganization:ȱProvided,ȱThatȱtheȱ
       employerȱhasȱreceivedȱfromȱeachȱemployee,ȱonȱ
       whoseȱ accountȱ suchȱ deductionsȱ areȱ made,ȱ aȱ
       wriĴenȱassignmentȱwhichȱshallȱnotȱbeȱirrevocȬ
       ableȱforȱaȱperiodȱofȱmoreȱthanȱoneȱyear,ȱorȱbeȬ
       yondȱtheȱterminationȱdateȱofȱtheȱapplicableȱcolȬ
       lectiveȱagreement,ȱwhicheverȱoccursȱsooner.ȱ
§ȱ186(c)(4).ȱ
   Thisȱexceptionȱsetsȱthree,ȱandȱonlyȱthree,ȱlimitsȱonȱduesȬ
checkoěȱagreements,ȱtheȱ“wriĴenȱassignment”ȱreferredȱtoȱinȱ
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theȱstatute.ȱSuchȱagreementsȱmustȱbeȱ(1)ȱindividualȱandȱ(2)ȱinȱ
writing,ȱandȱ(3)ȱtheyȱmustȱallowȱanȱemployeeȱtoȱrevokeȱitȱatȱ
leastȱonceȱaȱyearȱorȱuponȱexpirationȱofȱtheȱapplicableȱcollecȬ
tiveȱ agreement.ȱ Apartȱ fromȱ thoseȱ limits,ȱ duesȬcheckoěȱ auȬ
thorizationsȱareȱleftȱtoȱcollectiveȱbargaining.ȱStatesȱareȱnotȱfreeȱ
toȱ mandateȱ additionalȱ restrictionsȱ forȱ theȱ beneętȱ ofȱ unions,ȱ
employers,ȱorȱemployees.ȱ
      InȱadditionȱtoȱtheȱsummaryȱaĜrmanceȱinȱSeaȱPak,ȱtheȱSuȬ
premeȱ Courtȱ reachedȱ theȱ sameȱ conclusionȱ inȱ aȱ fullȱ opinionȱ
interpretingȱaȱnearlyȱidenticalȱprovisionȱinȱtheȱRailwayȱLaborȱ
Act,ȱ 45ȱ U.S.C.ȱ §ȱ 152ȱ Eleventhȱ (b),ȱ whichȱ wasȱ modeledȱ onȱ
§ȱ186(c)(4).ȱFelterȱv.ȱSouthernȱPacięcȱCo.,ȱ359ȱU.S.ȱ326,ȱ332–33ȱ
n.10ȱ(1959).5ȱTheȱRLAȱprovisionȱpermitsȱduesȬcheckoěȱagreeȬ
mentsȱinȱrailroadȱemployeeȱunionsȱunderȱtheȱsameȱconditionsȱ
setȱ forthȱ inȱ §ȱ186(c)(4).6ȱ Inȱ Felter,ȱ theȱ Supremeȱ Courtȱ interȬ
pretedȱthoseȱtermsȱtoȱmeanȱwhatȱSeaȱPakȱheldȱandȱwhatȱweȱ
ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
      5ȱWhereȱRLAȱandȱNRLAȱprovisionsȱ“areȱinȱallȱmaterialȱrespectsȱidenȬ

tical,”ȱtheȱSupremeȱCourtȱhasȱusedȱRLAȱcasesȱasȱaȱguideȱtoȱtheȱNLRAȱandȱ
viceȱ versa.ȱ Seeȱ Communicationsȱ Workersȱ ofȱ Am.ȱ v.ȱ Beck,ȱ 487ȱ U.S.ȱ 735,ȱ 745ȱ
(1988)ȱ (applyingȱ RLAȱ analysisȱ toȱ materiallyȱ identicalȱ NLRAȱ provision),ȱ
citingȱEllisȱv.ȱB’hoodȱofȱRailway,ȱAirlineȱ&ȱSteamshipȱClerks,ȱ466ȱU.S.ȱ435,ȱ452ȱ
n.13ȱ (1984)ȱ (applyingȱ NLRAȱ analysisȱ toȱ “equivalentȱ provision”ȱ ofȱ theȱ
RLA).ȱ
      6ȱNotwithstandingȱanyȱotherȱprovisionsȱ…ȱaȱlaborȱorganizationȱ

      …ȱshallȱbeȱpermittedȱtoȱmakeȱagreementsȱprovidingȱforȱtheȱdeȬ
      ductionȱ…ȱfromȱtheȱwagesȱofȱitsȱorȱtheirȱemployeesȱ…ȱanyȱperiȬ
      odicȱduesȱ…ȱProvided,ȱThatȱnoȱsuchȱagreementȱshallȱbeȱeffectiveȱ
      withȱrespectȱtoȱanyȱindividualȱemployeeȱuntilȱheȱshallȱhaveȱfurȬ
      nishedȱ theȱ employerȱ withȱ aȱ writtenȱ assignmentȱ toȱ theȱ laborȱ orȬ
      ganizationȱofȱsuchȱmembershipȱdues,ȱinitiationȱfees,ȱandȱassessȬ
      ments,ȱwhichȱshallȱbeȱrevocableȱinȱwritingȱafterȱtheȱexpirationȱofȱ
      oneȱyearȱorȱuponȱtheȱterminationȱdateȱofȱtheȱapplicableȱcollectiveȱ
      bargainingȱagreement,ȱwhicheverȱoccursȱsooner.ȱȱ
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holdȱtodayȱunderȱ§ȱ186(c)(4)—Congressȱleftȱtoȱprivateȱactorsȱ
whether,ȱandȱifȱso,ȱhow,ȱtoȱformulateȱaȱduesȬcheckoěȱagreeȬ
mentȱwithinȱtheȱbasicȱparametersȱsetȱforthȱinȱtheȱfederalȱstatȬ
ute.ȱ Theȱ individualȱ employeeȱ mustȱ agreeȱ toȱ theȱ duesȬ
checkoě,ȱ inȱ writing,ȱ andȱ itȱ mustȱ beȱ revocableȱ atȱ leastȱ onceȱ
everyȱ yearȱ orȱ atȱ theȱ expirationȱ ofȱ theȱ collectiveȱ bargainingȱ
agreement,ȱwhicheverȱoccursȱsooner.ȱ
    TheȱFelterȱCourtȱexplainedȱthatȱwhenȱCongressȱaddedȱSecȬ
tionȱ2ȱEleventhȱ(b)ȱtoȱtheȱRailwayȱLaborȱAct:ȱ
               Itȱthusȱbecameȱlawfulȱtoȱbargainȱcollectivelyȱ
           forȱ“unionȬshop”ȱandȱ“checkoě”ȱarrangements;ȱ
           butȱthisȱpowerȱwasȱmadeȱsubjectȱtoȱlimitations.ȱ
           Theȱlimitationȱhereȱpertinentȱisȱthat,ȱbyȱforceȱofȱ
           theȱproviso,ȱtheȱauthorityȱtoȱmakeȱcheckoěȱarȬ
           rangementsȱdoesȱnotȱincludeȱauthorityȱtoȱbindȱ
           individualȱemployeesȱtoȱsubmitȱtoȱtheȱcheckoě.ȱ
           Anyȱ agreementȱ wasȱ toȱ beȱ ineěectiveȱ asȱ toȱ anȱ
           employeeȱ whoȱ didȱ notȱ furnishȱ theȱ employerȱ
           withȱaȱwriĴenȱassignmentȱinȱfavorȱofȱtheȱlaborȱ
           organization,ȱandȱanyȱassignmentȱmadeȱwasȱtoȱ
           beȱ“revocableȱinȱwritingȱafterȱtheȱexpirationȱofȱ
           oneȱ yearȱ…ȱ.”ȱ Thisȱ failureȱ toȱ authorizeȱ agreeȬ
           mentsȱ bindingȱ employeesȱ toȱ submitȱ toȱ theȱ
           checkoěȱwasȱdeliberateȱonȱtheȱpartȱofȱCongress.ȱ
           Proposalsȱtoȱthatȱendȱwereȱexpresslyȱrejected.ȱ…ȱ
           [Theȱęnalȱbillȱallowed]ȱtheȱindividualȱemployeeȱ
           toȱdecideȱforȱhimselfȱwhetherȱtoȱsubmitȱtoȱtheȱ


ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
Pub.ȱL.ȱNo.ȱ81–914,ȱch.ȱ1220,ȱ64ȱStat.ȱ1238ȱ(1951),ȱcodifiedȱatȱ45ȱU.S.C.ȱ§ȱ152ȱ
Eleventhȱ(b).ȱ
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       checkoě,ȱ andȱ whetherȱ toȱ revokeȱ anȱ authorizaȬ
       tionȱafterȱtheȱexpirationȱofȱoneȱyear.ȱȱ
359ȱU.S.ȱatȱ331–32.ȱ
   Theȱ Supremeȱ Courtȱ thenȱ explainedȱ howȱ thisȱ languageȱ
placedȱ inȱ onlyȱ privateȱ handsȱ theȱ decisionsȱ aboutȱ additionalȱ
termsȱofȱduesȬcheckoěȱauthorizations:ȱ
           Theȱstructureȱofȱ§ȱ2ȱEleventhȱ(b)ȱthenȱisȱsimȬ
       ple:ȱcarriersȱandȱlaborȱorganizationsȱareȱauthorȬ
       izedȱtoȱbargainȱforȱarrangementsȱforȱaȱcheckoěȱ
       byȱtheȱemployerȱonȱbehalfȱofȱtheȱorganization.ȱ
       LatitudeȱisȱallowedȱinȱtheȱtermsȱofȱsuchȱarrangeȬ
       ments,ȱ butȱ notȱ pastȱ theȱ pointȱ suchȱ termsȱ imȬ
       pingeȱ uponȱ theȱ freedomȱ expresslyȱ reservedȱ toȱ
       theȱ individualȱ employeeȱ toȱ decideȱ whetherȱ heȱ
       willȱauthorizeȱtheȱcheckoěȱinȱhisȱcase.ȱSimilarlyȱ
       Congressȱconsciouslyȱandȱdeliberatelyȱchoseȱtoȱ
       denyȱcarriersȱandȱlaborȱorganizationsȱauthorityȱ
       toȱ reachȱ termsȱ whichȱ wouldȱ restrictȱ theȱ emȬ
       ployee’sȱcompleteȱfreedomȱtoȱrevokeȱanȱassignȬ
       mentȱbyȱaȱwritingȱdirectedȱtoȱtheȱemployerȱafterȱ
       oneȱ year.ȱ Congressȱ wasȱ specięcallyȱ concernedȱ
       withȱkeepingȱtheseȱareasȱofȱindividualȱchoiceȱoěȱ
       theȱbargainingȱtable.ȱItȱisȱplainlyȱourȱdutyȱtoȱefȬ
       fectuateȱthisȱobviousȱintentionȱofȱCongressȱ…ȱ.ȱ
Id.ȱatȱ333.ȱInȱFelterȱitself,ȱtheȱCourtȱfoundȱthatȱtheȱemployerȱ
andȱtheȱunionȱhadȱviolatedȱthoseȱstatutoryȱgroundȱrulesȱbyȱ
refusingȱtoȱhonorȱaȱtimelyȱrevocationȱnoticeȱbecauseȱitȱhadȱnotȱ
beenȱsubmiĴedȱonȱaȱparticularȱform.ȱId.ȱatȱ330.ȱ
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   Mostȱ relevantȱ toȱ thisȱ case,ȱ however,ȱ Felterȱ explainedȱ theȱ
rulesȱthatȱapplyȱasȱlongȱasȱprivateȱagreementsȱdoȱnotȱcontraȬ
dictȱtheȱstatutoryȱgroundȱrules:ȱȱ
       Ofȱcourse,ȱtheȱpartiesȱmayȱactȱtoȱminimizeȱtheȱ
       proceduralȱ problemsȱ causedȱ byȱ Congress’ȱ
       choice.ȱCarriersȱandȱlaborȱorganizationsȱmayȱsetȱ
       upȱproceduresȱthroughȱtheȱcollectiveȱagreementȱ
       forȱprocessing,ȱbetweenȱthemselves,ȱindividualȱ
       assignmentsȱandȱrevocationsȱreceived,ȱandȱcarȬ
       riersȱ mayȱ makeȱ reasonableȱ designations,ȱ inȱ orȱ
       outȱofȱcollectiveȱbargainingȱcontracts,ȱorȱagentsȱ
       toȱwhomȱrevocationsȱmayȱbeȱsent.ȱ
Id.ȱatȱ334–35.ȱInȱotherȱwords,ȱthoseȱmaĴersȱnotȱgovernedȱexȬ
presslyȱ byȱ theȱ statuteȱ wereȱ leftȱ toȱ theȱ collectiveȱ bargainingȱ
process,ȱjustȱasȱinȱSeaȱPakȱandȱMachinists.ȱ
       3.ȱ ApplyingȱMachinistsȱandȱGarmanȱPreemptionȱHereȱ
    Here,ȱWisconsinȱactedȱtoȱgiveȱemployeesȱlikeȱLisaȱAplinȱ
anȱ additionalȱ statutoryȱ rightȱ underȱ Stateȱ law:ȱ theȱ abilityȱ toȱ
cancelȱtheirȱdulyȱauthorizedȱduesȬcheckoěȱagreementsȱmidȬ
yearȱonȱjustȱthirtyȱdays’ȱnotice.ȱWis.ȱStat.ȱ§ȱ111.06(1)(i).ȱTheȱ
problemȱ isȱ thatȱ theȱ TaftȬHartleyȱActȱ leavesȱ itȱ toȱ privateȱ acȬ
tors—andȱ notȱ theȱ State—toȱ decideȱ howȱ longȱ theȱ duesȬ
checkoěȱauthorizationȱshouldȱlast,ȱasȱlongȱasȱtheȱauthorizaȬ
tionȱisȱindividual,ȱinȱwriting,ȱandȱnotȱirrevocableȱforȱlongerȱ
thanȱoneȱyear.ȱ29ȱU.S.C.ȱ§ȱ186(c)(4).ȱTheȱState’sȱaĴemptȱtoȱaddȱ
additionalȱ regulatoryȱ requirementsȱ forȱ duesȬcheckoěs,ȱ andȱ
thusȱtoȱchangeȱtheȱscopeȱofȱpermissibleȱcollectiveȱbargaining,ȱ
isȱpreempted.ȱȱȱ
   AȱstrongȱcaseȱcouldȱbeȱmadeȱforȱGarmonȱpreemptionȱhereȱ
becauseȱActȱ 1ȱ canȱ placeȱ employersȱ underȱ inconsistentȱ Stateȱ
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andȱ federalȱ expectations.ȱAfterȱ agreeingȱ toȱ aȱ newȱ collectiveȱ
bargainingȱagreement,ȱemployerȱJohnȱDeereȱwasȱcaughtȱhereȱ
inȱaȱfederalȬstateȱbind.ȱItȱhadȱagreed,ȱinȱlightȱofȱfederalȱlaw,ȱtoȱ
aȱcollectiveȱbargainingȱagreementȱwithȱtheȱMachinistsȱthatȱinȬ
corporatedȱ byȱ referenceȱ duesȬcheckoěȱ agreementsȱ irrevocȬ
ableȱforȱoneȱyear.ȱBecauseȱthisȱdecisionȱwasȱinconsistentȱwithȱ
Wisconsin’sȱthirtyȬdayȱrevocabilityȱrequirement,ȱJohnȱDeereȱ
wasȱtoldȱthatȱitȱcouldȱbeȱfoundȱresponsibleȱforȱcommiĴingȱanȱ
unfairȱ laborȱ practiceȱ underȱ Stateȱ law.ȱ Butȱ if,ȱ afterȱ executingȱ
theȱcollectiveȱbargainingȱagreement,ȱJohnȱDeereȱhadȱdecidedȱ
toȱignoreȱitsȱrequirementsȱandȱtoȱcomplyȱwithȱActȱ1ȱinstead,ȱ
itȱ couldȱ haveȱ beenȱ broughtȱ beforeȱ theȱ Nationalȱ Laborȱ RelaȬ
tionsȱBoardȱbyȱtheȱunionȱforȱcommiĴingȱaȱfederalȱunfairȱlaborȱ
practice.ȱSee,ȱe.g.,ȱMetalcraftȱofȱMayville,ȱInc.ȱandȱDistrictȱLodgeȱ
No.ȱ10,ȱInt’lȱAssoc.ȱofȱMachinistsȱ&ȱAerospaceȱWorkersȱofȱAm.,ȱNo.ȱ
18ȬCAȬ178322,ȱ2017ȱWLȱ956627ȱ(N.L.R.B.ȱDiv.ȱofȱJudgesȱMar.ȱ
10,ȱ2017)ȱ(analyzingȱcomplaintȱbroughtȱbyȱsameȱunionȱagainstȱ
diěerentȱemployerȱinȱwakeȱofȱActȱ1).ȱGarmonȱpreemptionȱisȱ
supposedȱtoȱpreventȱjustȱthisȱsortȱofȱconĚictȱbetweenȱStateȱlawȱ
andȱtheȱNLRB’sȱauthority.ȱSeeȱBrown,ȱ554ȱU.S.ȱatȱ65.7ȱȱ



ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
      7ȱAnotherȱargumentȱinȱfavorȱofȱGarmonȱpreemptionȱisȱthatȱtheȱpreciseȱ

termsȱ ofȱ duesȬcheckoffȱ agreementsȱ mightȱ beȱ consideredȱ aȱ wageȬrelatedȱ
termȱofȱemployment,ȱandȱthusȱaȱmandatoryȱsubjectȱofȱbargainingȱunderȱ
theȱNLRA.ȱ29ȱU.S.C.ȱ§ȱ158(a)(5),ȱ(d);ȱGarmon,ȱ359ȱU.S.ȱatȱ245ȱ(“Whenȱanȱ
activityȱisȱarguablyȱsubjectȱtoȱ§ȱ7ȱorȱ§ȱ8ȱofȱtheȱAct,ȱtheȱStatesȱasȱwellȱasȱtheȱ
federalȱ courtsȱ mustȱ deferȱ toȱ theȱ exclusiveȱ competenceȱ ofȱ theȱ Nationalȱ
Laborȱ Relationsȱ Board”).ȱ Weȱ haveȱ equatedȱ theȱ twoȱ before.ȱ Seeȱ Officeȱ &ȱ
Prof.ȱEmployeesȱInt’l.ȱUnion,ȱLocalȱ95ȱv.ȱWoodȱCty.ȱTel.ȱCo.,ȱ408ȱF.3dȱ314,ȱ317ȱ
(7thȱCir.ȱ2005)ȱ(distinguishingȱ“betweenȱduesȱcheckoffsȱandȱotherȱtermsȱ
andȱ conditionsȱ ofȱ employment,”ȱ butȱ onlyȱ withȱ respectȱ toȱ theȱ “expressȬ
contractualȬauthorizationȱrequirement”ȱforȱcheckoffs).ȱSinceȱSeaȱPakȱandȱ
No.ȱ17Ȭ1178ȱ                                                            25

    Theȱ Stateȱ respondsȱ thatȱ thereȱ isȱ aȱ simpleȱ solutionȱ thatȱ
wouldȱallowȱanȱemployerȱtoȱresolveȱthisȱconĚict.ȱInȱtheȱbarȬ
gainingȱprocess,ȱtheȱStateȱsays,ȱtheȱemployerȱcouldȱsimplyȱreȬ
fuseȱ toȱ agreeȱ toȱ anyȱ irrevocabilityȱ periodȱ longerȱ thanȱ thirtyȱ
days.ȱThatȱisȱtrueȱinȱtheory,ȱbutȱthisȱargumentȱshowsȱclearlyȱ
whyȱtheȱStateȱlawȱisȱpreemptedȱunderȱMachinists.ȱUnderȱtheȱ
TaftȬHartleyȱAct,ȱtheȱStateȱsimplyȱisȱnotȱallowedȱtoȱimposeȱitsȱ
ownȱ viewȱ ofȱ howȱ bestȱ toȱ balanceȱ theȱ interestsȱ ofȱ laborȱ andȱ
managementȱinȱzonesȱthatȱCongressȱdeliberatelyȱleftȱforȱresoȬ
lutionȱbyȱcollectiveȱbargaining.ȱMachinists,ȱ427ȱU.S.ȱatȱ149–50ȱ
(bothȱNLRBȱandȱStatesȱ“areȱwithoutȱauthorityȱtoȱaĴemptȱtoȱ
introduceȱ someȱ standardȱ ofȱ properlyȱ balancedȱ bargainingȱ
power”ȱ inȱ suchȱ areas)ȱ (quotationȱ marksȱ omiĴed),ȱ quotingȱ
N.L.R.B.ȱv.ȱInsuranceȱAgents,ȱ361ȱU.S.ȱ477,ȱ497ȱ(1960).ȱWisconȬ
sin’sȱActȱ1ȱtriesȱtoȱshortȬcircuitȱtheȱbargainingȱprocessȱbyȱtellȬ
ingȱJohnȱDeereȱandȱtheȱunionȱtheyȱmustȱuseȱaȱduesȬcheckoěȱ
irrevocabilityȱ periodȱ muchȱ shorterȱ thanȱ federalȱ lawȱ wouldȱ
otherwiseȱpermit.ȱȱ
      Asȱ explainedȱ above,ȱ Machinistsȱ appliesȱ aȱ ruleȱ ofȱ ęeldȱ
preemptionȱinȱareasȱthatȱ“Congressȱintendedȱ[to]ȱbeȱunreguȬ
lated”ȱ byȱ theȱ NLRBȱ orȱ theȱ States.ȱ Seeȱ Brown,ȱ 554ȱ U.S.ȱ atȱ 65ȱ
(quotationȱmarksȱomiĴed),ȱquotingȱMachinists,ȱ427ȱU.S.ȱatȱ140.ȱ
Asȱ Felterȱ explained,ȱ theȱ textȱ andȱ structureȱ ofȱ TaftȬHartley’sȱ
duesȬcheckoěȱprovisionȱdoȱpreciselyȱthat—employersȱandȱlaȬ
borȱ organizationsȱ “areȱ authorizedȱ toȱ bargainȱ forȱ arrangeȬ
mentsȱforȱaȱcheckoěȱbyȱtheȱemployerȱonȱbehalfȱofȱtheȱorganiȬ
zation,”ȱ andȱ itȱ isȱ “expresslyȱ reservedȱ toȱ theȱ individualȱ emȬ
ployeeȱtoȱdecideȱwhetherȱheȱwillȱauthorizeȱtheȱcheckoěȱinȱhisȱ
case.”ȱ359ȱU.S.ȱatȱ333.ȱThatȱleavesȱnoȱroomȱforȱWisconsinȱtoȱ
ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
Machinistsȱprovideȱsuchȱaȱclearȱanswerȱtoȱtheȱissueȱpresentedȱinȱthisȱcase,ȱ
weȱdoȱnotȱneedȱtoȱexploreȱGarmonȱpreemptionȱinȱanyȱmoreȱdetail.ȱ
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imposeȱitsȱownȱregulationsȱinȱthisȱsameȱęeld.ȱAsȱinȱFelter,ȱitȱ
“isȱ plainlyȱ ourȱ dutyȱ toȱ eěectuateȱ thisȱ obviousȱ intentionȱ ofȱ
Congress,”ȱid.,ȱandȱtoȱkeepȱStateȱlawȱfromȱinvadingȱthisȱzoneȱ
thatȱCongressȱdeliberatelyȱleftȱtoȱprivateȱactors.ȱȱȱȱ
      C.ȱ TheȱState’sȱArgumentsȱforȱanȱExceptionȱ
    TheȱStateȱoěersȱtwoȱmoreȱargumentsȱtoȱshieldȱWis.ȱStat.ȱ
§ȱ111.06(1)(i)ȱfromȱpreemption.ȱItȱęrstȱarguesȱthatȱpreemptionȱ
analysisȱshouldȱnotȱapplyȱtoȱStateȱduesȬcheckoěȱlawsȱbecauseȱ
29ȱU.S.C.ȱ§ȱ186(c)(4),ȱisȱonlyȱanȱexceptionȱtoȱaȱcriminalȱprohiȬ
bitionȱ againstȱ briberyȱ andȱ corruption.ȱ Second,ȱ theȱ Stateȱ arȬ
guesȱ thatȱ TaftȬHartley’sȱ preemptionȱ exemptionȱ forȱ Stateȱ
“rightȬtoȬwork”/mandatoryȱ unionȱ securityȱ agreementȱ laws,ȱ
§ȱ164(b),ȱ appliesȱ notȱ onlyȱ toȱ theȱ kindȱ ofȱ agreementsȱ menȬ
tionedȱinȱitsȱtext,ȱbutȱalsoȱtoȱStateȱlawsȱregulatingȱtheȱtermsȱofȱ
duesȬcheckoěȱ authorizations.ȱ Neitherȱ argumentȱ ęndsȱ supȬ
portȱinȱtheȱstatuteȱorȱinȱtheȱSupremeȱCourt’sȱlaborȱlawȱdeciȬ
sions.ȱȱ
         1. Sectionȱ186’sȱPreemptiveȱScopeȱ
    First,ȱ asȱ recountedȱ above,ȱ TaftȬHartley’sȱ prohibitionȱ onȱ
employersȱandȱtheirȱagentsȱgivingȱ“anyȱmoneyȱorȱotherȱthingȱ
ofȱvalue”ȱtoȱunionsȱinȱ§ȱ186(a)ȱwasȱdesignedȱtoȱęghtȱcorrupȬ
tion.ȱTheȱexceptionȱinȱ§ȱ186(c)(4)ȱgoesȱfurther,ȱthough.ȱItȱalsoȱ
setsȱ regulatoryȱ termsȱ andȱ conditionsȱ forȱ lawfulȱ duesȬ
checkoěs:ȱ “Provided,ȱ Thatȱ theȱ employerȱ hasȱ receivedȱ fromȱ
eachȱemployee,ȱonȱwhoseȱaccountȱsuchȱdeductionsȱareȱmade,ȱ
aȱwriĴenȱassignmentȱwhichȱshallȱnotȱbeȱirrevocableȱforȱaȱpeȬ
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riodȱofȱmoreȱthanȱoneȱyear[.]”ȱThisȱprovisoȱshowsȱaȱregulaȬ
toryȱintent,ȱnotȱjustȱaȱnarrowingȱofȱtheȱscopeȱofȱ§ȱ186(a)’sȱcrimȬ
inalȱliability.8ȱ
   Sectionȱ 186ȱ isȱ notȱ aȱ genericȱ criminalȱ statuteȱ applicableȱ
acrossȱmanyȱdiěerentȱpotentialȱcontexts,ȱcomparableȱtoȱsay,ȱ
mailȱ orȱ wireȱ fraud.ȱ Nextȱ toȱ TaftȬHartley’sȱ otherȱ provisions,ȱ
theȱscope,ȱexceptions,ȱandȱlocationȱofȱ§ȱ186ȱshowȱthatȱitȱseeksȱ
primarilyȱtoȱregulateȱtheȱinteractionȱbetweenȱemployersȱandȱ
employeeȱrepresentatives,ȱincludingȱsomeȱkeyȱtermsȱofȱduesȬ
checkoěȱauthorizations.ȱTheȱfactȱthatȱsomeȱviolationsȱofȱtheseȱ
policiesȱ mayȱ beȱ felonies,ȱ seeȱ §ȱ 186(d),ȱ reĚectsȱ theȱ depthȱ ofȱ
Congress’sȱ commitmentȱ toȱ theseȱ policyȱ choices.ȱ Itȱ doesȱ notȱ
showȱaȱchoiceȱtoȱlimitȱthisȱsection’sȱpreemptiveȱeěect.ȱȱ
    Inȱaddition,ȱMachinistsȱdoesȱnotȱsuggestȱthatȱcertainȱpartsȱ
ofȱ TaftȬHartleyȱ shouldȱ beȱ treatedȱ diěerentlyȱ inȱ termsȱ ofȱ
preemption.ȱWhereȱCongressȱdeliberatelyȱleftȱchoicesȱtoȱpriȬ
vateȱactors,ȱneitherȱtheȱStateȱnorȱtheȱNLRBȱmayȱintervene.ȱSeeȱ
Machinists,ȱ427ȱU.S.ȱatȱ140ȱ&ȱn.4.ȱEvenȱpublicȱpolicyȱandȱregȬ
ulatoryȱdecisionsȱinȱotherȱareasȱofȱtheȱlawȱcanȱbeȱpreemptedȱ
underȱMachinistsȱifȱtheyȱhaveȱanȱimpactȱonȱtheȱcollectiveȱbarȬ
gainingȱprocess.ȱSeeȱaboveȱatȱ15–17.ȱȱ
      Finally,ȱbyȱaĴemptingȱtoȱregulateȱtheȱrevocationȱperiodȱofȱ
duesȬcheckoěȱ authorizations,ȱ Actȱ 1ȱ isȱ notȱ aȱ “stateȱ law[]ȱ ofȱ
generalȱ application”ȱ likeȱ minimumȬwageȱ lawsȱ orȱ minimumȱ
ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
    8ȱTheȱexceptionȱthatȱimmediatelyȱfollows,ȱ§ȱ186(c)(5),ȱregardingȱunionȱ

trustȱfunds,ȱprovidesȱanotherȱexampleȱofȱregulatoryȱchoicesȱmadeȱinȱthisȱ
fashion.ȱItsȱ“Provided”ȱlanguageȱlistsȱpermissibleȱusesȱforȱtrustȱfunds,ȱsetsȱ
forthȱaȱprocessȱforȱapprovingȱtrustȱfundȱplans,ȱandȱevenȱempowersȱdistrictȱ
courtsȱtoȱappointȱ“anȱimpartialȱumpire”ȱtoȱsettleȱcertainȱkindsȱofȱdisputes.ȱ
Thisȱstructureȱisȱusedȱelsewhereȱinȱfederalȱlaborȱlaw.ȱSee,ȱe.g.,ȱ§ȱ158(a)(3)ȱ
(unionȱsecurityȱagreementsȱandȱunfairȱlaborȱpractices).ȱȱȱ
28ȱ                                                            No.ȱ17Ȭ1178ȱ

laborȱstandardsȱlaws,ȱwhichȱareȱgenerallyȱnotȱpreempted.ȱSeeȱ
MetropolitanȱLifeȱIns.ȱCo.ȱv.ȱMassachuseĴs,ȱ471ȱU.S.ȱ724,ȱ753,ȱ755ȱ
(1985).ȱHere,ȱWisconsinȱseeksȱtoȱmodifyȱaȱspecięcȱfederalȱlaȬ
borȱpolicyȱchoiceȱmadeȱinȱ29ȱU.S.C.ȱ§ȱ186(c)(4),ȱnotȱtoȱenactȱ
generallyȱapplicableȱhealthȱinsuranceȱstandards,ȱasȱinȱMetroȬ
politanȱLife,ȱseeȱ471ȱU.S.ȱatȱ727,ȱorȱtoȱimposeȱ“aȱminimumȱlaborȱ
standardȱwhichȱdoesȱnotȱinterfereȱwithȱtheȱcollectiveȱbargainȬ
ingȱprocess,”ȱasȱdescribedȱinȱShannon,ȱ549ȱF.3dȱatȱ1129.ȱThisȱ
publicȱpolicyȱdecisionȱinȱWis.ȱStat.ȱ§ȱ111.06(1)(i)—toȱnarrowȱ
theȱ scopeȱ ofȱ bargainingȱ betweenȱ theȱ employerȱ andȱ theȱ unȬ
ion—isȱpreempted.ȱ
           2. Theȱ Exceptionȱ forȱ “RightȬtoȬWork”/Unionȱ Securityȱ
               Agreementsȱ
    TheȱStateȱalsoȱcontendsȱthatȱWis.ȱStat.ȱ§ȱ111.06(1)(i)ȱisȱperȬ
missibleȱ becauseȱ TaftȬHartley’sȱ §ȱ 14(b)ȱ expresslyȱ permitsȱ
Statesȱ toȱ outlawȱ mandatoryȱ unionȱ securityȱ agreementsȱ inȱ
“rightȬtoȬwork”ȱlaws.ȱ29ȱU.S.C.ȱ§ȱ164(b);ȱseeȱalsoȱSweeneyȱv.ȱ
Pence,ȱ767ȱF.3dȱ654,ȱ658–59ȱ(7thȱCir.ȱ2014)ȱ(describingȱhistoryȱ
ofȱ§ȱ 164(b)).ȱ Whetherȱ toȱallowȱ “agreementsȱrequiringȱ memȬ
bershipȱinȱaȱlaborȱorganizationȱasȱaȱconditionȱofȱemployment”ȱ
isȱaȱpolicyȱchoiceȱthatȱCongressȱreservedȱtoȱtheȱStatesȱinȱthatȱ
provision.ȱ §ȱ164(b).9ȱ Wisconsinȱ contendsȱ thatȱ theȱ duesȬ
checkoěȱ authorizationȱ atȱ issueȱ hereȱ isȱ aȱ “maintenanceȱ ofȱ
membership”ȱ deviceȱ bestȱ thoughtȱ ofȱ asȱ aȱ unionȱ securityȱ

ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
      9ȱ§ȱ164(b)ȱreadsȱinȱfull:ȱ

      Nothingȱinȱthisȱsubchapterȱshallȱbeȱconstruedȱasȱauthorizingȱ
      theȱ executionȱ orȱ applicationȱ ofȱ agreementsȱ requiringȱ memȬ
      bershipȱinȱaȱlaborȱorganizationȱasȱaȱconditionȱofȱemploymentȱ
      inȱanyȱStateȱorȱTerritoryȱinȱwhichȱsuchȱexecutionȱorȱapplicaȬ
      tionȱisȱprohibitedȱbyȱStateȱorȱTerritorialȱlaw.ȱ
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agreementȱsubjectȱtoȱ§ȱ164(b)’sȱpreemptionȱexception.ȱAlterȬ
natively,ȱ theȱ Stateȱ contendsȱ thatȱ §ȱ111.06(1)(i)’sȱ thirtyȬdayȱ
maximumȱisȱoneȱofȱtheȱ“appropriateȱtools”ȱtheȱStateȱcanȱuseȱ
inȱassertingȱtheȱpolicyȱfreedomȱgrantedȱbyȱTaftȬHartley.ȱSeeȱ
ChamberȱofȱCommerceȱofȱUnitedȱStatesȱv.ȱWhiting,ȱ563ȱU.S.ȱ582,ȱ
600–01ȱ(2011)ȱ(pluralityȱopinion).ȱ
     Theseȱ argumentsȱ dependȱ onȱ theȱ mistakenȱ premiseȱ thatȱ
duesȬcheckoěȱauthorizationsȱ areȱunionȱsecurityȱ agreements,ȱ
i.e.,ȱ“agreementsȱrequiringȱmembershipȱinȱaȱlaborȱorganizationȱasȱ
aȱconditionȱofȱemployment,”ȱasȱsetȱforthȱinȱtheȱtextȱofȱ§ȱ164(b)ȱ
(emphasisȱ added).ȱ Theyȱ areȱ not.ȱ DuesȬcheckoěȱ authorizaȬ
tionsȱ areȱ optionalȱ payrollȱ deductionȱ contractsȱ betweenȱ emȬ
ployersȱandȱindividualȱemployees,ȱsimilarȱtoȱhealthȱinsuranceȱ
premiumȱpayrollȱ deductionsȱorȱ retirementȱsavingsȱarrangeȬ
ments.ȱCheckoěsȱcanȱbeȱmentionedȱinȱaȱcollectiveȱbargainingȱ
agreement,ȱbutȱtheyȱneedȱnotȱbe.ȱSeeȱColumbiaȱCollegeȱChicagoȱ
v.ȱ N.L.R.B.,ȱ 847ȱ F.3dȱ 547,ȱ 552–53ȱ (7thȱ Cir.ȱ 2017)ȱ (explainingȱ
thatȱ NLRAȱ requiresȱ bargainingȱ butȱ notȱ specięcȱ contractualȱ
outcomes).ȱUnlikeȱpublicȬsectorȱemployeesȱsubjectȱtoȱcollecȬ
tiveȱbargainingȱagreements,ȱprivateȱsectorȱemployeesȱcannotȱ
beȱforcedȱtoȱagreeȱtoȱtheseȱpayrollȱdeductions.ȱCompareȱDavȬ
enportȱv.ȱWashingtonȱEduc.ȱAss’n,ȱ551ȱU.S.ȱ177,ȱ181–82ȱ(2007),ȱ
citingȱWash.ȱRev.ȱCodeȱ§ȱ41.59.100ȱ(2006)ȱ(“theȱemployerȱshallȱ
enforceȱitȱbyȱdeductingȱfromȱtheȱsalary”ȱofȱemployees),ȱwithȱ
29ȱ U.S.C.ȱ §ȱ186(c)(4)ȱ (requiringȱ employerȱ toȱ haveȱ “receivedȱ
fromȱeachȱemployeeȱ…ȱaȱwriĴenȱassignment”).ȱ
    Inȱ bothȱ Seaȱ Pakȱ andȱ Felter,ȱ theȱ Supremeȱ Courtȱ hasȱ illusȬ
tratedȱ theȱ diěerenceȱ betweenȱ duesȬcheckoěȱ authorizationsȱ
andȱ unionȱ securityȱ agreements,ȱ i.e.,ȱ unionȬshopȱ orȱ agencyȬ
shopȱprovisions.ȱNeitherȱTaftȬHartleyȱnorȱtheȱRailwayȱLaborȱ
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ActȱinȱFelterȱequatesȱduesȬcheckoěsȱwithȱcompulsoryȱunionȱ
membership.ȱInȱfact,ȱFelterȱobserved:ȱ
           TheȱActȱmakesȱnoȱformalȱrelationshipȱbetweenȱ
           aȱ unionȬshopȱ arrangementȱ andȱ aȱ checkoěȱ arȬ
           rangement;ȱunderȱ[theȱAct]ȱtheȱpartiesȱcanȱ neȬ
           gotiateȱeitherȱoneȱwithoutȱtheȱother,ȱifȱtheyȱareȱ
           soȱdisposed.ȱAndȱofȱcourse,ȱaȱlaborȱorganizationȱ
           memberȱwhoȱisȱsubjectȱtoȱaȱunionȬshopȱarrangeȬ
           mentȱneedȱnotȱsubscribeȱtoȱtheȱcheckoě;ȱheȱcanȱ
           maintainȱ hisȱstandingȱ byȱpayingȱhisȱduesȱperȬ
           sonally.ȱ
359ȱU.S.ȱatȱ337ȱn.12;ȱseeȱalsoȱDkt.ȱ30–1ȱatȱ7ȱ(collectiveȱbargainȬ
ingȱagreementȱinȱthisȱcaseȱprovidedȱthatȱ“ifȱnoȱsuchȱauthoriȬ
zationȱisȱinȱeěect,ȱ[aȱmember]ȱmustȱpayȱhisȱmembershipȱduesȱ
directlyȱ toȱ theȱ Union”).ȱ Byȱ summarilyȱ aĜrmingȱ theȱ districtȱ
court’sȱ§ȱ164(b)ȱdiscussionȱinȱSeaȱPak,ȱtheȱSupremeȱCourtȱenȬ
dorsedȱtheȱconclusionȱthatȱ§ȱ164(b)ȱ“reachesȱnoȱfurther”ȱthanȱ
itsȱterms.ȱ300ȱF.ȱSupp.ȱatȱ1201.ȱ“CheckoěȱauthorizationsȱirrevȬ
ocableȱforȱoneȱyearȱafterȱ[theirȱeěective]ȱdateȱdoȱnotȱamountȱ
toȱcompulsoryȱunionismȱasȱtoȱemployeesȱwhoȱwishȱtoȱwithȬ
drawȱfromȱmembershipȱpriorȱtoȱthatȱtime.”ȱId.10ȱȱ


ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
      10ȱOnȱtheȱfactsȱofȱthisȱcase,ȱAplin’sȱduesȬcheckoffȱauthorizationȱcannotȱ

reasonablyȱ beȱ consideredȱ aȱ unionȱ securityȱ device.ȱ Sheȱ wouldȱ notȱ haveȱ
facedȱanyȱconsequencesȱfromȱtheȱunionȱorȱherȱemployerȱifȱsheȱhadȱneverȱ
authorizedȱit.ȱItȱwasȱalso,ȱbyȱitsȱexpressȱterms,ȱ“notȱaȱquidȱproȱquoȱforȱ…ȱ
unionȱ membership.”ȱ Dkt.ȱ 30Ȭ3.ȱ Theȱ duesȬcheckoffȱ authorizationȱ mightȱ
haveȱbecomeȱaȱtermȱofȱherȱemploymentȱonceȱAplinȱsignedȱit,ȱbutȱitȱwasȱ
neverȱ“aȱconditionȱofȱemployment”ȱasȱthatȱtermȱisȱusedȱinȱ§ȱ164(b)—theȱ
authorizationȱwasȱaȱfreelyȱadoptedȱoptionalȱcontractualȱarrangementȱwithȱ
herȱ employer,ȱ withȱ itsȱ ownȱ cancellationȱ termsȱ andȱconditionsȱ thatȱ fullyȱ
compliedȱ withȱ federalȱ law.ȱ Seeȱ Dkt.ȱ 30Ȭ1ȱ atȱ 7;ȱ Dkt.ȱ 30Ȭ3;ȱ 29ȱ U.S.C.ȱ
No.ȱ17Ȭ1178ȱ                                                               31

    Toȱcounterȱtheseȱpoints,ȱtheȱStateȱreliesȱonȱWhiting,ȱaȱcaseȱ
aboutȱ federalȱ immigrationȱ lawȱ andȱ anȱ Arizonaȱ businessȱ liȬ
censingȱstatute,ȱforȱtheȱideaȱthatȱitȱcanȱuseȱ“appropriateȱtoolsȱ
toȱexerciseȱ[the]ȱauthority”ȱgrantedȱunderȱfederalȱlaborȱlawȱinȱ
§ȱ164(b).ȱ563ȱU.S.ȱatȱ600–01ȱ(pluralityȱopinion)ȱ(discussingȱ8ȱ
U.S.C.ȱ§ȱ1324a(h)(2),ȱwhichȱpermitsȱStatesȱtoȱimposeȱ“civilȱorȱ
criminalȱ sanctions”ȱ onȱ “thoseȱ whoȱ employȱ…ȱ unauthorizedȱ
aliens”ȱprovidedȱthisȱisȱdoneȱ“throughȱlicensingȱandȱsimilarȱ
laws”).ȱȱ
    Congressȱ didȱ notȱ writeȱ §ȱ 164(b)ȱ nearlyȱ asȱ broadlyȱ asȱ itȱ
wroteȱtheȱstatuteȱinȱWhiting.ȱCourtsȱhaveȱrejectedȱrelianceȱonȱ
§ȱ164(b)ȱtoȱsaveȱStateȱstatutesȱthatȱveeredȱbeyondȱtheȱproviȬ
sion’sȱexpressȱscope:ȱagreementsȱbetweenȱlaborȱandȱmanageȬ
mentȱdesignedȱtoȱpreventȱworkersȱfromȱfreeȬridingȱonȱaȱunȬ
ion’sȱservices.ȱSeeȱIdahoȱBldg.ȱ&ȱConst.ȱTradesȱCouncilȱv.ȱInlandȱ
Pacięcȱ Chapterȱ ofȱAssoc.ȱ Buildersȱ &ȱ Contractors,ȱ 801ȱ F.3dȱ 950,ȱ
954,ȱ958ȱ(9thȱCir.ȱ2015),ȱcitingȱOil,ȱChem.ȱ&ȱAtomicȱWorkersȱInt’lȱ
Unionȱv.ȱMobilȱOilȱCorp.,ȱ426ȱU.S.ȱ407,ȱ409ȱ&ȱnn.1ȱ&ȱ2,ȱ416–17ȱ
(1976)ȱ (explainingȱ freeȬriderȱ problemȱ solvedȱ byȱ unionȬshopȱȱ
andȱagencyȬshopȱagreements);ȱseeȱalsoȱBeck,ȱ487ȱU.S.ȱatȱ744,ȱ
746,ȱ748–49ȱ(explainingȱthatȱunderȱTaftȬHartley’sȱnationwideȱ
policy,ȱwhichȱoutlawedȱclosedȬshopȱagreementsȱwhereȱunionȱ
membershipȱwasȱaȱpreȬconditionȱforȱemployment,ȱ“Congressȱ
authorizedȱcompulsoryȱunionismȱonlyȱtoȱtheȱextentȱnecessaryȱ
toȱensureȱthatȱthoseȱwhoȱenjoyȱunionȬnegotiatedȱbeneętsȱconȬ
tributeȱtoȱtheirȱcost”).ȱȱȱ


ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
§ȱ186(c)(4).ȱAplinȱenjoyedȱtheȱconvenienceȱofȱaȱpayrollȱdeductionȱforȱthirȬ
teenȱyears.ȱOnlyȱinȱtheȱlastȱfewȱmonthsȱofȱtheȱarrangementȱdidȱsheȱseekȱtoȱ
changeȱit.ȱSeaȱPakȱspecificallyȱrejectedȱtheȱnotionȱthatȱthisȱstateȱofȱaffairsȱ
amountsȱtoȱcompulsoryȱunionȱmembership.ȱ
32ȱ                                                         No.ȱ17Ȭ1178ȱ

    Thereȱ isȱ noȱ suchȱ freeȬriderȱ concernȱ here.ȱ Wisconsinȱ isȱ
seekingȱtoȱmodifyȱtheȱtermsȱofȱvoluntaryȱpayrollȱdeductionsȱ
involvingȱanȱemployerȱandȱitsȱemployee,ȱnotȱmandatoryȱunȬ
ionȬȱorȱagencyȬshopȱrequirementsȱthatȱtheȱemployerȱandȱtheȱ
unionȱagreeȱtoȱimposeȱonȱallȱemployees.ȱWeȱknowȱthisȱfromȱ
theȱ termsȱ ofȱ Actȱ 1ȱ itself.ȱ Itsȱ languageȱ invokingȱ theȱ powerȱ
grantedȱbyȱ§ȱ164(b)ȱcameȱinȱtheȱ“rightȬtoȬwork”/unionȱsecuȬ
rityȱ agreementsȱ provision.ȱ 2015ȱ Wis.ȱ Actȱ 1,ȱ §ȱ5,ȱ codięedȱ atȱ
Wis.ȱStat.ȱ§ȱ111.04(3)(a).ȱȱ
    InȱSweeney,ȱ weȱdescribedȱtheȱStates’ȱ§ȱ164(b)ȱfreedomȱasȱ
“extensive,”ȱ767ȱF.3dȱatȱ660,ȱbutȱtheȱSupremeȱCourtȱhasȱmadeȱ
clearȱthatȱbeforeȱthatȱfreedomȱcanȱapply,ȱthereȱmustȱactuallyȱ
beȱ aȱ properȱ unionȱ securityȱ agreementȱ inȱ dispute:ȱ “stateȱ
power,ȱrecognizedȱbyȱ§ȱ14(b),ȱbeginsȱonlyȱwithȱactualȱnegotiaȬ
tionȱ andȱ executionȱ ofȱ theȱ typeȱ ofȱ agreementȱ describedȱ byȱ §ȱ14(b).ȱ
Absentȱsuchȱanȱagreement,ȱconductȱarguablyȱanȱunfairȱlaborȱ
practiceȱwouldȱbeȱaȱmaĴerȱforȱtheȱNationalȱLaborȱRelationsȱ
Boardȱ underȱ Garmon.”ȱ Retailȱ Clerksȱ Int’lȱ Ass’nȱ Localȱ 1625ȱ v.ȱ
Schermerhorn,ȱ375ȱU.S.ȱ96,ȱ105ȱ(1963)ȱ(RetailȱClerksȱII)ȱ(emphaȬ
sisȱ inȱ original).ȱ Thisȱ §ȱ164(b)ȱ authorityȱ alsoȱ appliesȱ “onlyȱ
whereȱStateȱandȱfederalȱpowerȱareȱconcurrent.”ȱAlgomaȱPlyȬ
woodȱ &ȱ Veneerȱ Co.ȱ v.ȱ Wis.ȱ Employmentȱ Relationsȱ Bd.,ȱ 336ȱ U.S.ȱ
301,ȱ315ȱ(1949);ȱ29ȱU.S.C.ȱ§§ȱ158(a)(3),ȱ164(b).ȱThatȱisȱnotȱtheȱ
caseȱ hereȱ withȱ respectȱ toȱ duesȬcheckoěȱ authorizations.ȱ SecȬ
tionȱ 164(b)ȱ doesȱ notȱ authorizeȱ Statesȱ toȱ regulateȱ otherȱ arȬ
rangementsȱ notȱ coveredȱbyȱitsȱ terms,ȱsuchȱasȱduesȬcheckoěȱ
authorizations.ȱȱ
                               Conclusionȱ
   Inȱ lightȱ ofȱ Seaȱ Pak,ȱ Machinists,ȱ andȱ theȱ Supremeȱ Court’sȱ
otherȱ laborȱ preemptionȱ decisions,ȱ 29ȱ U.S.C.ȱ §ȱ 186(c)(4)ȱ
preemptsȱWis.ȱStat.ȱ§ȱ111.06(1)(i).ȱTheȱjudgmentȱofȱtheȱdistrictȱ
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courtȱreachingȱthatȱconclusionȱandȱenjoiningȱenforcementȱofȱ
theȱStateȱstatuteȱisȱ
                                               AFFIRMED.ȱ
34ȱ                                                    No.ȱ17Ȭ1178ȱ

    MANION,ȱCircuitȱJudge,ȱdissenting.ȱSectionȱ302ȱofȱtheȱTaftȬ
HartleyȱAct,ȱanȱamendmentȱtoȱtheȱNationalȱLaborȱRelationsȱ
Act,ȱ makesȱ itȱ aȱ crimeȱ forȱ anȱ employerȱ toȱ giveȱ anythingȱ ofȱ
valueȱtoȱaȱunionȱrepresenting,ȱorȱseekingȱtoȱrepresent,ȱitsȱemȬ
ployees.ȱ29ȱU.S.C.ȱ§ȱ186(a).ȱButȱtheȱlawȱspecięcallyȱexemptsȱ
soȬcalledȱ“checkoěȱagreements,”ȱwhereinȱanȱemployeeȱagreesȱ
toȱsetȱoěȱaȱportionȱofȱeachȱpaycheckȱforȱunionȱdues,ȱsoȱlongȱ
asȱtheȱemployeeȱsubmitsȱaȱwriĴenȱassignmentȱnotȱirrevocableȱ
forȱmoreȱthanȱoneȱyear.ȱId.ȱ§ȱ186(c)(4).ȱThus,ȱfederalȱlawȱproȬ
hibitsȱ checkoěȱ agreementsȱ irrevocableȱ forȱ moreȱ thanȱ oneȱ
year,ȱbutȱpermitsȱthoseȱwithȱrevocabilityȱperiodsȱofȱaȱyearȱorȱ
less.ȱ
    Nearlyȱ 50ȱ yearsȱ ago,ȱ aȱ districtȱ judgeȱ heldȱ thatȱ TaftȬ
Hartley’sȱcheckoěȱprovisionȱpreemptedȱaȱstateȱlawȱrequiringȱ
checkoěȱagreementsȱbeȱrevocableȱatȱwill.ȱAlthoughȱtheȱstateȱ
lawȱdidȱnotȱconĚictȱwithȱtheȱfederalȱcheckoěȱprovision,ȱtheȱ
judgeȱconcludedȱthatȱ“[t]heȱareaȱofȱcheckoěȱofȱunionȱduesȱhasȱ
beenȱfederallyȱoccupiedȱtoȱsuchȱanȱextentȱunderȱ[Sectionȱ302]ȱ
thatȱnoȱroomȱremainsȱforȱstateȱregulationȱinȱtheȱsameȱęeld.”ȱ
SeaPakȱv.ȱIndus.,ȱTech.ȱ&ȱProf’lȱEmps.,ȱ300ȱF.ȱSupp.ȱ1197,ȱ1200ȱ
(S.D.ȱGa.ȱ1969).ȱThatȱdecisionȱwasȱsummarilyȱaĜrmedȱęrstȱbyȱ
theȱFifthȱCircuitȱandȱthenȱtheȱSupremeȱCourt,ȱmakingȱitȱtheȱ
lawȱofȱtheȱland.ȱ400ȱU.S.ȱ985ȱ(1971)ȱ(mem.).ȱAsȱaȱresult,ȱstatesȱ
haveȱ beenȱ prohibitedȱ sinceȱ 1971ȱ fromȱ regulatingȱ checkoěȱ
agreementsȱ despiteȱ scantȱ textualȱ evidenceȱ ofȱ congressionalȱ
intentȱtoȱpreventȱthemȱfromȱdoingȱso.ȱ
    Enactedȱinȱ2015,ȱWisconsin’sȱrightȬtoȬworkȱlawȱchallengesȱ
thisȱprecedent.ȱInȱadditionȱtoȱoutlawingȱcompulsoryȱunionȬ
ism,ȱtheȱlawȱrequiresȱthatȱcheckoěȱagreementsȱbeȱterminableȱ
uponȱ30ȱdays’ȱnoticeȱtoȱtheȱemployer.ȱJohnȱDeereȱemployeeȱ
LisaȱAplinȱtriedȱtoȱtakeȱadvantageȱofȱtheȱnewȱlawȱbyȱrevokingȱ
No.ȱ17Ȭ1178ȱ                                                         35ȱ

herȱcheckoěȱagreement,ȱbutȱtheȱunion,ȱtheȱInternationalȱAsȬ
sociationȱofȱMachinists,ȱwasȱnotȱpleasedȱandȱrefusedȱtoȱacceptȱ
herȱ revocation.ȱAplinȱ chargedȱ thatȱ theȱ unionȱ commiĴedȱ anȱ
unfairȱlaborȱpractice,ȱandȱtheȱWisconsinȱDepartmentȱofȱWorkȬ
forceȱ Developmentȱ agreed.ȱ Butȱ withȱ theȱ Supremeȱ Court’sȱ
summaryȱaĜrmanceȱinȱhand,ȱtheȱunionȱobtainedȱanȱinjuncȬ
tionȱinȱfederalȱdistrictȱcourt.ȱȱ
    TheȱcourtȱtodayȱaĜrms,ȱrelyingȱnotȱonlyȱonȱSeaPak,ȱbutȱonȱ
theȱdoctrineȱofȱMachinistsȱpreemption,ȱaȱformȱofȱlaborȬspecięcȱ
preemptionȱthatȱdidn’tȱacquireȱitsȱnameȱuntilȱęveȱyearsȱafterȱ
theȱ SeaPakȱ decision.ȱ Seeȱ Lodgeȱ 76,ȱ Int’lȱAss’nȱ ofȱ Machinistsȱ &ȱ
AerospaceȱWorkers,ȱAFLȬCIOȱv.ȱWis.ȱEmp’tȱRelationsȱComm.,ȱ427ȱ
U.S.ȱ132ȱ(1976).ȱInȱmyȱview,ȱtheȱSeaPakȱsummaryȱaĜrmanceȱ
deservesȱaȱfreshȱlook.ȱSeaPak’sȱholdingȱthatȱallȱstateȱregulationȱ
ofȱcheckoěȱagreementsȱisȱpreemptedȱdoesȱnotȱętȱcomfortablyȱ
withinȱ theȱ Machinistsȱ doctrine.ȱ Norȱ doesȱ itȱ standȱ upȱ toȱ anyȱ
scrutinyȱunderȱ modernȱgeneralȱ preemptionȱdoctrine,ȱwhichȱ
nowȱrequiresȱmuchȱstrongerȱtextualȱindicationsȱofȱCongresȬ
sionalȱintentȱtoȱdisplaceȱstateȱregulation.ȱIȱconcludeȱthatȱdeȬ
velopmentsȱoverȱtheȱlastȱ47ȱyearsȱhaveȱerodedȱtheȱprecedenȬ
tialȱ valueȱ ofȱ SeaPakȱ toȱ suchȱ anȱ extentȱ thatȱ weȱ noȱ longerȱ areȱ
obligedȱtoȱfollowȱit.ȱTherefore,ȱIȱwouldȱpermitȱWisconsinȱtoȱ
enforceȱ itsȱ limitationȱ onȱ checkoěȱ agreements.ȱ Iȱ respectfullyȱ
dissent.ȱ
                           I.ȱBackgroundȱ
    Wisconsin’sȱrightȬtoȬworkȱlaw,ȱknownȱasȱActȱ1,ȱwentȱintoȱ
eěectȱonȱJulyȱ1,ȱ2015.ȱItsȱmainȱprovisionȱabolishesȱcompulsoryȱ
unionism,ȱdeclaringȱthatȱ“[n]oȱpersonȱmayȱrequire,ȱasȱaȱconȬ
ditionȱofȱobtainingȱorȱcontinuingȱemployment,ȱanȱindividualȱ
toȱ …ȱ [p]ayȱ anyȱ dues,ȱ fees,ȱ assessments,ȱ orȱ otherȱ chargesȱ orȱ
expensesȱofȱanyȱkindȱorȱamountȱ…ȱtoȱaȱlaborȱorganization”ȱorȱ
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“anyȱ3rdȱparty.”ȱWIS.ȱSTAT.ȱ§ȱ111.04(3)(a)3ȱ&ȱ4.ȱFurther,ȱwhenȱ
anȱ employeeȱ choosesȱ toȱ payȱ duesȱ toȱ aȱ unionȱ viaȱ aȱ checkoěȱ
fromȱtheȱemployee’sȱpaycheck,ȱsuchȱcheckoěȱagreementȱmustȱ
beȱ “terminableȱ byȱ theȱ employeeȱ givingȱ toȱ theȱ employerȱ atȱ
leastȱ 30ȱ days’ȱ wriĴenȱ noticeȱ ofȱ theȱ termination.”ȱ Id.ȱ
§ȱ111.06(1)(i).ȱTheȱlimitationȱonȱcheckoěȱagreementsȱpermitsȱ
employeesȱmoreȱĚexibility,ȱallowingȱthemȱtoȱeasilyȱstopȱdeȬ
ductionsȱfromȱtheirȱpaychecks.ȱ
    LisaȱAplinȱworkedȱforȱJohnȱDeere.ȱTheȱInternationalȱAssoȬ
ciationȱ ofȱ Machinistsȱ hadȱ aȱ collectiveȱ bargainingȱ agreementȱ
withȱJohnȱDeereȱtoȱrepresentȱtheȱemployeesȱatȱAplin’sȱplant,ȱ
butȱAplinȱ neverȱ agreedȱ toȱ joinȱ theȱ union.ȱ Nevertheless,ȱ sheȱ
wasȱstillȱobligatedȱbeforeȱtheȱrightȬtoȬworkȱlawȱwentȱintoȱefȬ
fectȱtoȱpayȱduesȱtoȱtheȱunion.ȱSheȱhadȱaȱcheckoěȱagreementȱtoȱ
facilitateȱthatȱpayment.ȱButȱwhenȱherȱobligationȱtoȱpayȱceasedȱ
onȱJulyȱ1,ȱ2015,ȱsheȱsoughtȱtoȱrevokeȱtheȱcheckoěȱagreementȱ
asȱofȱJulyȱ31.ȱTheȱunionȱrefusedȱtoȱhonorȱherȱrevocationȱreȬ
questȱbecause,ȱaccordingȱtoȱtheȱunion,ȱtheȱrequestȱdidn’tȱcomȬ
plyȱ withȱ theȱ collectiveȱ bargainingȱ agreement.ȱ Aplinȱ ęledȱ aȱ
complaintȱwithȱtheȱWisconsinȱDepartmentȱofȱWorkforceȱDeȬ
velopment,ȱandȱthatȱagencyȱagreedȱthatȱtheȱunionȱhadȱcomȬ
miĴedȱanȱunfairȱlaborȱpracticeȱbyȱrefusingȱtoȱacceptȱaȱrevocaȬ
tionȱdeemedȱlawfulȱunderȱstateȱlaw.ȱ
    TheȱunionȱsoughtȱdeclaratoryȱandȱinjunctiveȱreliefȱinȱfedȬ
eralȱ courtȱ onȱ theȱ groundȱ thatȱ Wisconsin’sȱ restrictionȱ ofȱ
checkoěȱagreementsȱisȱpreemptedȱbyȱfederalȱlaw.ȱTheȱdistrictȱ
courtȱagreed,ȱconcludingȱthatȱitȱwasȱboundȱbyȱtheȱSupremeȱ
Court’sȱsummaryȱaĜrmanceȱinȱSeaPak.ȱInt’lȱAss’nȱofȱMachinȬ
istsȱ Dist.ȱ 10ȱ v.ȱ Allen,ȱ No.ȱ 16ȬcvȬ77Ȭwmc,ȱ 2016ȱ WLȱ 7475720ȱ
(W.D.ȱWis.ȱDec.ȱ28,ȱ2016).ȱWisconsinȱappealed.ȱ
      ȱ
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                            II.ȱAnalysisȱ
     Preemptionȱ arisesȱ fromȱ theȱ Constitution’sȱ Supremacyȱ
Clause,ȱwhichȱsaysȱfederalȱlawȱ“shallȱbeȱtheȱsupremeȱLawȱofȱ
theȱLandȱ…ȱanyȱThingȱinȱtheȱConstitutionȱorȱLawsȱofȱanyȱStateȱ
toȱ theȱ Contraryȱ notwithstanding.”ȱ U.S.ȱ Const.ȱ art.ȱ VI,ȱ cl.ȱ 2.ȱ
Sinceȱstateȱlawȱmayȱnotȱcontradictȱfederalȱlaw,ȱsometimesȱtheȱ
laĴerȱwillȱrenderȱtheȱformerȱunenforceable.ȱPreemptionȱ“mayȱ
beȱ eitherȱ expressȱ orȱ implied,”ȱ Fidelityȱ Fed.ȱ Savingsȱ &ȱ Loanȱ
Ass’nȱv.ȱdeȱlaȱCuesta,ȱ458ȱU.S.ȱ141,ȱ152–53ȱ(1982),ȱbutȱthisȱcaseȱ
concernsȱ impliedȱ preemptionȱ becauseȱ “theȱ [Nationalȱ Laborȱ
RelationsȱAct]ȱ containsȱ noȱ expressȱ preȬemptionȱ provision,”ȱ
ChamberȱofȱCommerceȱv.ȱBrown,ȱ554ȱU.S.ȱ60,ȱ65ȱ(2008);ȱseeȱalsoȱ
520ȱS.ȱMich.ȱAve.ȱAssocs.,ȱLtd.ȱv.ȱShannon,ȱ549ȱF.3dȱ1119,ȱ1125ȱ
(7thȱCir.ȱ2008).ȱȱ
    Inȱimpliedȱpreemptionȱcases,ȱweȱpresumeȱthatȱ“aȱstateȱlawȱ
shouldȱ beȱ sustainedȱ ‘unlessȱ itȱ conĚictsȱ withȱ federalȱ lawȱ orȱ
wouldȱfrustrateȱtheȱfederalȱscheme,ȱorȱunlessȱtheȱcourtsȱdisȬ
cernȱ fromȱ theȱ totalityȱ ofȱ theȱ circumstancesȱ thatȱ Congressȱ
soughtȱtoȱoccupyȱtheȱęeldȱtoȱtheȱexclusionȱofȱtheȱStates.’”ȱ520ȱ
S.ȱMich.ȱAve.,ȱ549ȱF.3dȱatȱ1125ȱ(quotingȱMaloneȱv.ȱWhiteȱMotorȱ
Corp.,ȱ435ȱU.S.ȱ497,ȱ504ȱ(1978)).ȱTypically,ȱ“[i]mpliedȱpreempȬ
tionȱanalysisȱdoesȱnotȱjustifyȱaȱ‘freeȬwheelingȱjudicialȱinquiryȱ
intoȱwhetherȱaȱ stateȱstatuteȱ isȱinȱtensionȱ withȱfederalȱ objecȬ
tives’;ȱsuchȱanȱendeavorȱ‘wouldȱundercutȱtheȱprincipleȱthatȱitȱ
isȱCongressȱratherȱthanȱtheȱcourtsȱthatȱpreemptsȱstateȱlaw.’”ȱ
ChamberȱofȱCommerceȱv.ȱWhiting,ȱ563ȱU.S.ȱ582,ȱ607ȱ(2011)ȱ(quotȬ
ingȱ Gadeȱ v.ȱ Nat’lȱ Solidȱ Wastesȱ Mgmt.ȱAss’n,ȱ 505ȱ U.S.ȱ 88,ȱ 111ȱ
(1992)ȱ(Kennedy,ȱJ.,ȱconcurringȱinȱpartȱandȱconcurringȱinȱtheȱ
judgment)).ȱConsistentȱwithȱthatȱprinciple,ȱweȱgenerallyȱ“asȬ
sumeȱthatȱ‘theȱhistoricȱpoliceȱpowersȱofȱtheȱStates’ȱareȱnotȱsuȬ
persededȱ‘unlessȱthatȱwasȱtheȱclearȱandȱmanifestȱpurposeȱofȱ
38ȱ                                                      No.ȱ17Ȭ1178ȱ

Congress.’”ȱArizonaȱv.ȱUnitedȱStates,ȱ 567ȱ U.S.ȱ387,ȱ400ȱ (2012)ȱ
(quotingȱ Riceȱ v.ȱ Santaȱ Feȱ Elevatorȱ Corp.,ȱ 331ȱ U.S.ȱ 218,ȱ 230ȱ
(1947)).ȱ Mostȱ importantly,ȱ “[e]videnceȱ ofȱ preȬemptiveȱ purȬ
poseȱisȱsoughtȱinȱtheȱtextȱandȱstructureȱofȱtheȱstatuteȱatȱissue.”ȱ
CSXȱTransp.,ȱInc.ȱv.ȱEasterwood,ȱ507ȱU.S.ȱ658,ȱ664ȱ(1993).ȱInȱtypȬ
icalȱpreemptionȱcases,ȱcourtsȱnoȱlongerȱaĴemptȱtoȱreadȱtheȱteaȱ
leavesȱ toȱ determineȱ congressionalȱ intent.ȱ Seeȱ Kurnsȱ v.ȱ R.R.ȱ
FrictionȱProds.ȱCorp.,ȱ565ȱU.S.ȱ625,ȱ638ȱ(2012)ȱ(Kagan,ȱJ.,ȱconȬ
curring).ȱȱ
    Butȱthisȱcaseȱconcernsȱlaborȱlaw.ȱMustȱweȱthrowȱgeneralȱ
preemptionȱprinciples,ȱmeantȱtoȱpreserveȱtheȱtraditionalȱpoȬ
liceȱpowerȱofȱtheȱStates,ȱoutȱtheȱwindowȱinȱthisȱcontext?ȱTheȱ
courtȱthinksȱso.ȱToȱthatȱend,ȱitȱcontendsȱthatȱtheȱSeaPakȱdeciȬ
sionȱwasȱanȱearlyȱapplicationȱofȱ(orȱatȱleastȱconsistentȱwith)ȱ
Machinistsȱpreemption.ȱMachinistsȱpreemptionȱisȱaȱspeciesȱofȱ
ęeldȱpreemptionȱinȱlaborȱlawȱthatȱ“forbidsȱbothȱtheȱNationalȱ
LaborȱRelationsȱBoardȱ(NLRB)ȱandȱStatesȱtoȱregulateȱconductȱ
thatȱCongressȱintendedȱ‘beȱunregulatedȱbecauseȱleftȱtoȱbeȱconȬ
trolledȱbyȱtheȱfreeȱplayȱofȱeconomicȱforces.’”ȱBrown,ȱ554ȱU.S.ȱ
atȱ65ȱ(quotingȱMachinists,ȱ427ȱU.S.ȱatȱ140)ȱ(someȱinternalȱquoȬ
tationȱmarksȱomiĴed).ȱTheȱrationaleȱisȱthatȱCongress’ȱchoiceȱ
toȱ protectȱ andȱ prohibitȱ certainȱ laborȱ practicesȱ (inȱ Sectionsȱ 7ȱ
andȱ 8ȱ ofȱ theȱ NLRA)ȱ impliesȱ congressionalȱ intentȱ thatȱ whatȬ
everȱitȱdidȱnotȱprotectȱorȱprohibitȱinȱthoseȱsectionsȱwasȱmeantȱ
toȱbeȱleftȱtoȱbargaining,ȱunregulatedȱbyȱtheȱStates.ȱSeeȱ520ȱS.ȱ
Mich.ȱAve.,ȱ549ȱF.3dȱatȱ1125–26.ȱ
   Becauseȱ ofȱ thisȱ assumptionȱ regardingȱ congressionalȱ inȬ
tent,ȱ Machinistsȱ preemptionȱ isȱ inȱ someȱ tensionȱ withȱ generalȱ
ęeldȱ preemptionȱ principles.ȱAsȱ severalȱ justicesȱ haveȱ noted,ȱ
“recentȱcasesȱhaveȱfrequentlyȱrejectedȱęeldȱpreȬemptionȱinȱtheȱ
absenceȱofȱstatutoryȱlanguageȱexpresslyȱrequiringȱit.”ȱKurns,ȱ
No.ȱ17Ȭ1178ȱ                                                                         39ȱ

565ȱU.S.ȱatȱ640–41ȱ(Sotomayor,ȱJ.,ȱconcurringȱinȱpartȱandȱdisȬ
sentingȱ inȱ part)ȱ (quotingȱ Campsȱ Newfound/Owatonna,ȱ Inc.ȱ v.ȱ
TownȱofȱHarrison,ȱ520ȱU.S.ȱ564,ȱ617ȱ(1997)ȱ(Thomas,ȱJ.,ȱdissentȬ
ing));ȱ seeȱ alsoȱ id.ȱ atȱ 638ȱ (Kagan,ȱ J.,ȱ concurring)ȱ (criticizingȱ aȱ
1920sȱ applicationȱ ofȱ ęeldȱ preemptionȱ asȱ anȱ “anachronism,”ȱ
notingȱthatȱ“Congressȱhadȱ‘manifest[ed]ȱtheȱintentionȱtoȱocȬ
cupyȱ theȱ entireȱ ęeldȱ ofȱ regulatingȱ locomotiveȱ equipment,’ȱ
basedȱonȱnothingȱmoreȱthanȱaȱstatuteȱgrantingȱregulatoryȱauȬ
thorityȱoverȱthatȱsubjectȱmaĴerȱtoȱaȱfederalȱagency.”).1ȱComȬ
mentators,ȱ too,ȱ haveȱ noticedȱ theȱ Court’sȱ recentȱ moveȱ awayȱ
fromȱbroadȱapplicationȱofȱęeldȱpreemption.ȱSeeȱ LaurenȱGilȬ
bert,ȱImmigrantȱLaws,ȱObstacleȱPreemptionȱandȱtheȱLostȱLegacyȱofȱ
McCulloch,ȱ 33ȱ Berkeleyȱ J.ȱ Emp.ȱ &ȱ Lab.ȱ L.ȱ 153,ȱ 160ȱ (2012)ȱ
(“Consistentȱ withȱ theȱ emphasisȱ onȱ statesȇȱ rightsȱ inȱ modernȱ
Commerceȱ Clauseȱ andȱ Tenthȱ Amendmentȱ cases,ȱ theȱ Courtȱ
hasȱtendedȱoverȱtheȱlastȱęfteenȱyearsȱtoȱnarrowȱtheȱavailabilityȱ
ofȱęeldȱpreemptionȱandȱobstacleȱpreemption,ȱabsentȱclearȱevȬ
idenceȱofȱCongressionalȱintent.”ȱ(footnoteȱomiĴed)).ȱButȱMaȬ
chinistsȱ preemptionȱ necessarilyȱ infersȱ congressionalȱ intentȱ
fromȱ silence.ȱAsȱ thenȬJusticeȱ Rehnquistȱ putȱ it,ȱ “[t]heȱ entireȱ
bodyȱofȱthisȱCourt’sȱlaborȱlawȱpreȬemptionȱdoctrineȱhasȱbeenȱ
builtȱonȱaȱseriesȱofȱimplicationsȱasȱtoȱcongressionalȱintentȱinȱ
theȱfaceȱofȱcongressionalȱsilence,ȱsoȱthatȱweȱnowȱhaveȱanȱelabȬ
orateȱpreȬemptionȱdoctrineȱtraceableȱnotȱtoȱanyȱexpressionȱofȱ
ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
     1ȱTheȱcourtȱpointsȱoutȱthatȱtheȱSupremeȱCourtȱinȱKurnsȱstillȱfollowedȱ

theȱarguablyȱanachronisticȱpreemptionȱholding.ȱButȱtheȱCourt’sȱcommitȬ
mentȱtoȱstareȱdecisisȱisȱfarȱstrongerȱwhenȱitȱhasȱissuedȱanȱopinionȱonȱtheȱ
meritsȱthanȱwhenȱtheȱpriorȱcaseȱisȱonlyȱaȱsummaryȱdisposition.ȱIll.ȱStateȱ
Bd.ȱ ofȱ Electionsȱ v.ȱ Socialistȱ Workersȱ Party,ȱ 440ȱ U.S.ȱ 173,ȱ 180–81ȱ (1979).ȱ Soȱ
whileȱstareȱdecisisȱcouldȱhaveȱjustifiedȱtheȱresultȱinȱKurnsȱ(especiallyȱinȱaȱ
statutoryȱcase),ȱtheȱsameȱmightȱnotȱbeȱtrueȱwereȱtheȱCourtȱtoȱreevaluateȱ
SeaPak.ȱ
40ȱ                                                            No.ȱ17Ȭ1178ȱ

Congress,ȱbutȱonlyȱtoȱstatementsȱbyȱthisȱCourtȱinȱitsȱpreviousȱ
opinionsȱofȱwhatȱCongressȱmustȱhaveȱintended.”ȱGoldenȱStateȱ
Transitȱ Corp.ȱ v.ȱ Cityȱ ofȱ Losȱ Angeles,ȱ 475ȱ U.S.ȱ 608,ȱ 623ȱ (1986)ȱ
(Rehnquist,ȱJ.,ȱdissenting).ȱ
    Despiteȱthisȱtension,ȱtheȱCourtȱhasȱgivenȱnoȱindicationȱthatȱ
Machinistsȱisȱinȱdangerȱofȱbeingȱoverruled.ȱSeeȱBrown,ȱ554ȱU.S.ȱ
atȱ68–69.ȱYetȱtheȱ2008ȱBrownȱdecision,ȱholdingȱthatȱaȱCaliforȬ
niaȱ lawȱ restrictingȱ certainȱ speechȱ aboutȱ unionsȱ wasȱ
preemptedȱbyȱtheȱNLRA,ȱreliedȱinȱpartȱonȱanȱexpressȱproviȬ
sionȱ ofȱ theȱ NLRA,ȱ Sectionȱ 8(c),ȱ whichȱ “expresslyȱ precludesȱ
regulationȱofȱspeechȱaboutȱunionizationȱ‘soȱlongȱasȱtheȱcomȬ
municationsȱ doȱ notȱ containȱ aȱ threatȱ ofȱ reprisalȱ orȱ forceȱ orȱ
promiseȱofȱbeneęt.’”ȱId.ȱatȱ68ȱ(quotingȱNLRBȱv.ȱGisselȱPackingȱ
Co.,ȱ395ȱU.S.ȱ575,ȱ618ȱ(1969)).ȱTheȱCourtȱsaidȱtheȱexistenceȱofȱ
Sectionȱ 8(c)ȱ (codięedȱ atȱ 29ȱ U.S.C.ȱ §ȱ 158(c))ȱ madeȱ thatȱ caseȱ
“easier”ȱthanȱtheȱtypicalȱNLRAȱpreemptionȱcaseȱ“becauseȱitȱ
doesȱnotȱrequireȱusȱ‘toȱdecipherȱtheȱpresumedȱintentȱofȱConȬ
gressȱinȱtheȱfaceȱofȱthatȱbody’sȱsteadfastȱsilence.’”ȱId.ȱ(quotingȱ
Sears,ȱ Roebuckȱ &ȱ Co.ȱ v.ȱ Carpenters,ȱ 436ȱ U.S.ȱ 180,ȱ 188ȱ n.12ȱ
(1978)).ȱAndȱbeforeȱBrown,ȱtheȱCourtȱhadn’tȱfoundȱaȱstateȱlawȱ
preemptedȱunderȱMachinistsȱsinceȱGoldenȱStateȱinȱ1986.2ȱȱ
    So,ȱ whileȱ Machinistsȱ isȱ certainlyȱ stillȱ goodȱ law,ȱ Iȱ wouldȱ
hesitateȱtoȱextendȱitȱbeyondȱitsȱcurrentȱboundaries.ȱAfterȱall,ȱ
evenȱinȱtheȱlaborȱcontext,ȱtheȱSupremeȱCourtȱisȱ“reluctantȱtoȱ
inferȱpreȬemption.”ȱBuildingȱ&ȱConst.ȱTradesȱCouncilȱofȱMetro.ȱ
ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
      2ȱInȱLivadasȱv.ȱBradshaw,ȱ512ȱU.S.ȱ107,ȱ117ȱn.11ȱ(1994),ȱtheȱCourtȱmenȬ

tionedȱMachinistsȱpreemptionȱinȱaȱfootnote,ȱsayingȱthatȱinȱthatȱparticularȱ
caseȱ theȱ differenceȱ betweenȱ typicalȱ conflictȱ preemptionȱ andȱ Machinistsȱ
wasȱ“entirelyȱsemantic,ȱdependingȱonȱwhetherȱLivadasȇsȱrightȱisȱcharacȬ
terizedȱasȱimplicitȱinȱtheȱstructureȱofȱtheȱActȱ(asȱwasȱtheȱrightȱtoȱselfȬhelpȱ
upheldȱinȱMachinists)ȱorȱasȱrootedȱinȱtheȱtextȱofȱ§ȱ7.”ȱ
No.ȱ17Ȭ1178ȱ                                                              41ȱ

Dist.ȱv.ȱAssociatedȱBuildersȱ&ȱContractorsȱofȱMass./R.I.,ȱInc.,ȱ507ȱ
U.S.ȱ218,ȱ224ȱ(1993).ȱ“FederalȱlaborȱlawȱinȱthisȱsenseȱisȱinterȬ
stitial,ȱsupplementingȱstateȱlawȱwhereȱcompatible,ȱandȱsupȬ
plantingȱitȱonlyȱwhenȱitȱpreventsȱtheȱaccomplishmentȱofȱtheȱ
purposesȱofȱtheȱfederalȱAct.”ȱMetro.ȱLifeȱIns.ȱCo.ȱv.ȱMassachuȬ
seĴs,ȱ471ȱU.S.ȱ724,ȱ756ȱ(1985).ȱ
    Thisȱleavesȱthreeȱmainȱquestions.ȱFirst,ȱcanȱSeaPakȱbeȱreȬ
castȱasȱaȱMachinistsȱpreemptionȱcase?ȱIfȱitȱcannot,ȱcanȱitȱbeȱjusȬ
tięedȱunderȱmodernȱgeneralȱpreemptionȱdoctrine?ȱAndȱifȱthatȱ
doesȱnotȱwork,ȱmustȱweȱstillȱfollowȱitȱsimplyȱbecauseȱitȱisȱaȱ
meritsȱ decisionȱ ofȱ theȱ Supremeȱ Courtȱ andȱ itȱ hasȱ notȱ beenȱ
overruled?ȱIȱwillȱtakeȱtheseȱinȱturn.ȱ
     A.ȱSeaPakȱasȱaȱMachinistsȱCaseȱ
    Theȱ courtȱ contendsȱ thatȱ theȱ Machinistsȱ preemptionȱ docȬ
trineȱsupportsȱtheȱSeaPakȱsummaryȱaĜrmance.ȱItȱessentiallyȱ
seeksȱtoȱrecastȱSeaPakȱasȱaȱMachinistsȱpreemptionȱcase.ȱYetȱIȱ
cannotȱ ęndȱ anyȱ casesȱ describingȱ SeaPakȱ thisȱ way.3ȱ Onȱ theȱ
otherȱhand,ȱcourtsȱhaveȱinterpretedȱSeaPakȱasȱaȱgeneralȱęeldȱ
preemptionȱ caseȱ (withȱ noȱ mentionȱ ofȱ Machinists).ȱ Mostȱ reȬ
cently,ȱtheȱSixthȱCircuitȱcharacterizedȱSeaPakȱasȱholdingȱthatȱ
“[a]llowingȱ dualȱ regulationȱ underȱ federalȱ andȱ stateȱ lawȱ
wouldȱundermineȱCongress’sȱpurposesȱandȱcontraveneȱęeldȱ
preemption.”ȱ Unitedȱ Auto.,ȱ Aerospace,ȱ &ȱ Agric.ȱ Implementȱ
ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
     3ȱTheȱdistrictȱcourtȱinȱGeorgiaȱStateȱAFLȬCIOȱv.ȱOlens,ȱ194ȱF.ȱSupp.ȱ3dȱ

1322,ȱ1330–31ȱn.5ȱ(N.D.ȱGa.ȱ2016),ȱnotedȱinȱaȱfootnoteȱthatȱ“[d]espiteȱregȬ
ulationȱ determiningȱ theȱ boundariesȱ ofȱ bargainingȱ inȱ thisȱ regard,ȱ theȱ
NLRAȱleftȱaȱwindowȱbetweenȱrevocableȱcheckoffȱauthorizationsȱandȱirȬ
revocableȱauthorizationsȱupȱtoȱaȱyearȱthatȱwouldȱappearȱsusceptibleȱtoȱaȱ
challengeȱunderȱMachinistȱ[sic]ȱpreemptionȱasȱwell.”ȱButȱtheȱcourtȱdidȱnotȱ
characterizeȱSeaPakȱasȱaȱMachinistsȱcase.ȱRather,ȱitȱsaidȱthatȱevenȱputtingȱ
SeaPakȱtoȱoneȱside,ȱMachinistsȱpreemptionȱmightȱalsoȱapply.ȱ
42ȱ                                                     No.ȱ17Ȭ1178ȱ

WorkersȱofȱAm.ȱLocalȱ3047ȱv.ȱHardinȱCty.,ȱ842ȱF.3dȱ407,ȱ421ȱ(6thȱ
Cir.ȱ 2016).ȱ Theȱ courtȱ heldȱ thatȱ “[t]heȱ analysisȱ setȱ forthȱ inȱ
SeaPakȱisȱnotȱconclusive,ȱbutȱitȱbearsȱtheȱSupremeȱCourt’sȱimȬ
primaturȱandȱitsȱauthorityȱremainsȱessentiallyȱunchallengedȱ
byȱanyȱconĚictingȱcaseȱlawȱauthority.”ȱId.;ȱseeȱalsoȱUnitedȱFoodȱ
&ȱCommercialȱWorkersȱLocalȱ99ȱv.ȱBenneĴ,ȱ934ȱF.ȱSupp.ȱ2dȱ1167,ȱ
1181–82ȱ(D.ȱAriz.ȱ2013)ȱ(“InȱęndingȱthatȱtheȱGeorgiaȱstatuteȱ
wasȱpreempted,ȱtheȱtrialȱjudgeȱappearedȱtoȱrelyȱonȱbothȱconȬ
Ěictȱandȱęeldȱpreemption.”).ȱȱ
    Further,ȱ theȱ SeaPakȱ districtȱ courtȱ failedȱ toȱ mentionȱ anyȱ
casesȱ thatȱ theȱ Supremeȱ Courtȱ reliedȱ onȱ toȱ establishȱ theȱ MaȬ
chinistsȱpreemptionȱdoctrineȱsevenȱyearsȱlater.ȱInstead,ȱitȱdisȬ
cussedȱbothȱconĚictȱandȱęeldȱpreemption.ȱTheȱcourtȱęrstȱconȬ
cludedȱthatȱtheȱfederalȱandȱstateȱstatutesȱwereȱ“completelyȱatȱ
odds”ȱandȱcouldȱnotȱ“coexist.”ȱSeaPak,ȱ300ȱF.ȱSupp.ȱatȱ1200.ȱ
Thisȱ wasȱ plainlyȱ wrong,ȱ sinceȱ Georgia’sȱ lawȱ requiringȱ
checkoěȱauthorizationsȱtoȱbeȱrevocableȱatȱwillȱdidȱnotȱviolateȱ
federalȱlaw;ȱitȱwasȱpossibleȱtoȱcomplyȱwithȱbothȱprovisions.ȱ
Second,ȱtheȱcourtȱfoundȱ“[t]heȱareaȱofȱcheckoěȱofȱunionȱduesȱ
hasȱbeenȱfederallyȱoccupiedȱtoȱsuchȱanȱextentȱunderȱ[Sectionȱ
302]ȱ thatȱ noȱ roomȱ remainsȱ forȱ stateȱ regulationȱ inȱ theȱ sameȱ
ęeld.”ȱId.ȱForȱsupport,ȱtheȱcourtȱnotedȱthatȱtheȱoriginalȱverȬ
sionȱ ofȱ theȱ legislationȱ inȱ theȱ Houseȱ wouldȱ haveȱ madeȱ itȱ anȱ
unfairȱlaborȱpracticeȱforȱcheckoěȱauthorizationsȱtoȱbeȱirrevoȬ
cableȱ forȱ moreȱ thanȱ 30ȱ days,ȱ butȱ aȱ Senateȱ amendmentȱ reȬ
movedȱ thatȱ provision.ȱ Id.ȱ Theȱ courtȱ rhetoricallyȱ askedȱ
whether,ȱ ifȱ theȱ legislationȱ hadȱ includedȱ theȱ originalȱ Houseȱ
versionȱofȱtheȱcheckoěȱrestriction,ȱitȱwouldȱ“haveȱamountedȱ
toȱaȱclearȱCongressionalȱmandateȱgoverningȱdeductionȱofȱunȬ
ionȱduesȱinȱeveryȱstate?”ȱId.ȱOfȱcourse,ȱitȱwouldȱhave,ȱsoȱtheȱ
courtȱsaidȱitȱcouldn’tȱ“beȱpersuadedȱthatȱFederalȱpreemptionȱ
failsȱmerelyȱbecauseȱCongressȱsawȱętȱtoȱadoptȱaȱlessȱliberalȱ
No.ȱ17Ȭ1178ȱ                                                                 43ȱ

powerȱofȱrevocationȱandȱthenȱincorporatedȱitȱinȱaȱproviso.”ȱId.ȱ
SuchȱanȱanalysisȱisȱnotȱcomparableȱtoȱMachinistsȱpreemption,ȱ
butȱ toȱ anachronisticȱ ęeldȱ preemptionȱ casesȱ thatȱ haveȱ fallenȱ
outȱofȱfavorȱinȱrecentȱyears.ȱIȱwouldȱconcludeȱthatȱSeaPakȱwasȱ
decidedȱasȱaȱgeneralȱęeldȱpreemptionȱcase.4ȱ
    Evenȱ so,ȱ leavingȱ SeaPakȱ toȱ oneȱ side,ȱ doesȱ Machinistsȱ reȬ
quireȱ preemptionȱ ofȱ theȱ Wisconsinȱ regulationȱ here?ȱAdmitȬ
tedly,ȱ“congressionalȱintentȱtoȱshieldȱaȱzoneȱofȱactivityȱfromȱ
regulationȱisȱusuallyȱfoundȱonlyȱ‘implicit[ly]ȱinȱtheȱstructureȱ
ofȱtheȱAct[.]’”ȱBrown,ȱ554ȱU.S.ȱatȱ68ȱ(quotingȱLivadas,ȱ512ȱU.S.ȱ
atȱ117ȱn.11).ȱThisȱmeansȱthatȱStatesȱcannotȱlegislateȱonȱtopȱofȱ
theȱprotectionsȱofȱSectionȱ7ȱofȱtheȱNLRAȱorȱtheȱprohibitionsȱ
ofȱSectionȱ8,ȱonȱtheȱtheoryȱthatȱCongressȱintendedȱeverythingȱ
elseȱtoȱbeȱleftȱtoȱbargaining.ȱSeeȱCannonȱv.ȱEdgar,ȱ33ȱF.3dȱ880,ȱ
885ȱ(7thȱCir.ȱ1994);ȱ520ȱS.ȱMich.ȱAve.,ȱ549ȱF.3dȱatȱ1125–26.ȱȱ
    HadȱCongressȱincludedȱtheȱlanguageȱofȱSectionȱ302(c)(4)ȱ
ofȱTaftȬHartleyȱalongsideȱtheȱprohibitionsȱofȱSectionȱ8ȱofȱtheȱ
NLRA,ȱIȱmightȱbeȱpersuadedȱthatȱtheȱrationaleȱofȱMachinistsȱ
requiredȱpreemptionȱofȱ stateȱregulationsȱmandatingȱshorterȱ
periodsȱ ofȱ irrevocabilityȱ forȱ checkoěs.ȱ Yet,ȱ thatȱ isȱ notȱ whatȱ
happened.ȱInstead,ȱtheȱlanguageȱappearsȱasȱanȱexceptionȱtoȱaȱ
criminalȱ lawȱotherwiseȱbarringȱ employersȱfromȱgivingȱanyȬ
thingȱofȱvalueȱtoȱunions.5ȱ29ȱU.S.C.ȱ§ȱ186(a).ȱAndȱasȱWisconsinȱ


ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
     4ȱNothingȱinȱtheȱquestionȱpresentedȱorȱtheȱlimitedȱbriefingȱavailableȱ

fromȱ theȱ SeaPakȱ appealsȱ demonstratesȱ thatȱ theȱ Fifthȱ Circuitȱ orȱ theȱ SuȬ
premeȱCourtȱconsideredȱMachinistsȬlikeȱargumentsȱeither.ȱ
     5ȱTheȱcourtȱsaysȱthatȱSectionȱ302(c)(4)’sȱplacementȱasȱaȱcriminalȱlaw,ȱ

ratherȱthan,ȱsay,ȱanȱunfairȱlaborȱpracticeȱprohibitedȱunderȱSectionȱ8ȱofȱtheȱ
NLRA,ȱ simplyȱ meansȱ thatȱ Congressȱ wasȱ reallyȱ committedȱ toȱ theȱ issue.ȱ
Surely,ȱ Congressȱ wasȱ concernedȱ withȱ theȱ extendedȱ irrevocabilityȱ ofȱ
44ȱ                                                                 No.ȱ17Ȭ1178ȱ

pointsȱout,ȱtheȱDepartmentȱofȱJustice,ȱnotȱtheȱNLRB,ȱenforcesȱ
Sectionȱ302’sȱcriminalȱprohibition.ȱSectionȱ302(c)(4)’sȱpositionȱ
asȱaȱsafeȬharborȱexceptionȱtoȱaȱcriminalȱlaw,ȱratherȱthanȱasȱaȱ
regulationȱofȱtheȱcollectiveȱbargainingȱprocessȱunderȱSectionsȱ
7ȱandȱ8ȱofȱtheȱNLRA,ȱcounselsȱagainstȱaȱęndingȱofȱpreempȬ
tion.ȱMoreover,ȱCongressȱdoesȱnotȱ“hideȱelephantsȱinȱmouseȬ
holes.”ȱ Whitmanȱ v.ȱ Am.ȱ Truckingȱ Ass’ns,ȱ 531ȱ U.S.ȱ 457,ȱ 468ȱ
(2001).ȱ Ifȱ Congressȱ intendedȱ toȱ grantȱ unionsȱ anȱ aĜrmativeȱ
rightȱ toȱ bargainȱ forȱ checkoěȱ agreementsȱ irrevocableȱ forȱ aȱ
year,ȱitȱseemsȱhighlyȱunlikelyȱitȱwouldȱhaveȱplacedȱtheȱlanȬ
guageȱ ofȱ Sectionȱ 302(c)(4)ȱ inȱ aȱ “providedȱ that”ȱ clauseȱ ofȱ anȱ
exceptionȱtoȱanȱantiȬbriberyȱstatute.ȱCf.ȱCityȱofȱChicagoȱv.ȱSesȬ
sions,ȱ888ȱF.3dȱ272,ȱ285ȱ(7thȱCir.ȱ2018)ȱ(notingȱthatȱ“[a]ȱclauseȱ
inȱaȱcatchȬallȱprovisionȱatȱtheȱendȱofȱaȱlistȱofȱexplicitȱpowersȱ
wouldȱ beȱ anȱ oddȱ placeȱ indeedȱ toȱ putȱ aȱ sweepingȱ powerȱ toȱ
imposeȱanyȱconditionsȱonȱanyȱgrants”).ȱ
      FurtherȱcuĴingȱagainstȱMachinistsȱpreemptionȱisȱthatȱduesȱ
checkoěȱ isȱ “designedȱ asȱ aȱ provisionȱ forȱ theȱ administrativeȱ
convenienceȱinȱtheȱcollectionȱofȱunionȱdues.”ȱNLRBȱv.ȱAtlantaȱ
Printingȱ Specialtiesȱ andȱ Paperȱ Prods.ȱ Unionȱ 527,ȱAFLȬCIO,ȱ 523ȱ
F.2dȱ 783,ȱ 786ȱ (5thȱ Cir.ȱ 1975).ȱAsȱ theȱ Fifthȱ Circuitȱ explained,ȱ
“Sectionȱ302ȱgenerallyȱprohibitsȱpaymentsȱfromȱemployersȱtoȱ
unions,ȱinȱorderȱtoȱpreventȱcorruption,ȱbutȱSubsectionȱ(c)(4)ȱ
makesȱ anȱ exceptionȱ forȱ duesȱ deductions,ȱ providedȱ thatȱ theȱ
ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
checkoffȱ agreements.ȱ Butȱ Sectionȱ 302ȱ isȱ primarilyȱ aȱ prohibitionȱ ofȱ emȬ
ployerȱpaymentsȱtoȱunions,ȱnotȱaȱregulationȱofȱtheȱcollectiveȱbargainingȱ
process.ȱCheckoffsȱareȱonlyȱpermittedȱinȱtheȱfirstȱinstanceȱasȱanȱexceptionȱ
toȱthisȱgeneralȱrule,ȱandȱgenerallyȱbecauseȱtheyȱareȱconvenient.ȱTheȱstrucȬ
tureȱofȱtheȱsectionȱthusȱindicatesȱthatȱCongressȱlikelyȱintendedȱsimplyȱtoȱ
placeȱ aȱ limit,ȱ forȱ theȱ benefitȱ ofȱ employees,ȱ onȱ itsȱ allowanceȱ ofȱ checkoffȱ
agreements.ȱIȱdoȱnotȱbelieveȱweȱcanȱinferȱpreemptionȱfromȱsuchȱaȱstatuȬ
toryȱstructure.ȱ
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employeeȱgivesȱvoluntaryȱwriĴenȱconsent.ȱTheȱemphasisȱisȱonȱ
protectionȱ ofȱ theȱ employee,ȱ notȱ theȱ union.”ȱ Id.ȱ Theȱ sameȱ isȱ
trueȱofȱtheȱoneȱyearȱlimitȱonȱirrevocability.ȱIfȱSectionȱ302(c)(4)ȱ
grantsȱrightsȱtoȱanyoneȱ(andȱitȱdoesȱnotȱappearȱtoȱdoȱso),ȱitȱisȱ
theȱemployee,ȱwhoȱisȱentitledȱtoȱexerciseȱhisȱorȱherȱfreeȱchoiceȱ
toȱ revokeȱ checkoěȱ agreements.ȱ Seeȱ id.ȱ atȱ 786–87;ȱ Felterȱ v.ȱ S.ȱ
Pac.ȱ Co.,ȱ 359ȱ U.S.ȱ 326,ȱ 333ȱ (1959)ȱ (limitationsȱ onȱ checkoěȱ
agreementsȱareȱaȱmaĴerȱofȱtheȱ“employee’sȱfreedomȱofȱdeciȬ
sion”).ȱ Inȱ lightȱ ofȱ this,ȱ Iȱ cannotȱ agreeȱ thatȱ Sectionȱ 302(c)(4)ȱ
grantsȱunionsȱtheȱrightȱtoȱbargainȱforȱoneȱyearȱofȱirrevocabilȬ
ity.ȱNorȱcanȱIȱconcludeȱthatȱCongress,ȱinȱpermiĴingȱ limitedȱ
checkoěȱagreementsȱforȱconvenience,ȱintendedȱtoȱpreventȱtheȱ
Statesȱfromȱfurtherȱpreservingȱanȱemployee’sȱrightȱtoȱfreedomȱ
ofȱchoice.ȱ
    Asȱ thisȱ caseȱ demonstrates,ȱ theȱ revocabilityȱ ofȱ duesȱ
checkoěȱagreementsȱcanȱpitȱanȱindividualȱemployee,ȱwhoȱdeȬ
siresȱtoȱrevokeȱherȱcheckoěȱauthorization,ȱagainstȱtheȱunion,ȱ
whichȱwouldȱpreferȱtoȱreceiveȱautomaticȱduesȱforȱtheȱremainȬ
derȱofȱtheȱagreement.ȱThatȱthisȱcaseȱisȱaboutȱemployeeȱfreeȬ
domȱ fromȱ theȱ unionȱ substantiallyȱ distinguishesȱ itȱ fromȱ theȱ
typicalȱ Machinistsȱ caseȱ dealingȱ withȱ “Congress’ȱ intentionalȱ
balanceȱbetweenȱtheȱpowerȱofȱmanagementȱandȱlaborȱtoȱfurȬ
therȱtheirȱrespectiveȱinterestsȱbyȱuseȱofȱtheirȱrespectiveȱecoȬ
nomicȱweapons.”ȱCannon,ȱ33ȱF.3dȱatȱ885.ȱWhileȱmanagementȱ
andȱ laborȱ mayȱ bargainȱ overȱ theȱ existenceȱ andȱ termsȱ ofȱ
checkoěȱ agreements,ȱneitherȱ sideȱ adequatelyȱ representsȱ theȱ
freedomȱofȱemployeesȱtoȱrevokeȱtheirȱagreements.ȱItȱisȱinȱtheȱ
union’sȱ interestȱ toȱ procureȱ theȱ maximumȱ irrevocabilityȱ peȬ
riodȱallowedȱunderȱtheȱlaw,ȱnotȱtoȱbargainȱforȱtheȱbestȱinterȬ
estsȱofȱitsȱmembers.ȱSimplyȱput,ȱthisȱcaseȱdoesȱnotȱinvolveȱtheȱ
sameȱtypeȱofȱregulationȱofȱcollectiveȱbargainingȱthatȱhasȱjusȬ
tięedȱMachinistsȱpreemptionȱinȱtheȱpast.ȱ
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    Lastly,ȱtheȱcourtȱsaysȱthatȱtheȱSupremeȱCourtȱreachedȱtheȱ
“sameȱ conclusion”ȱ asȱ SeaPakȱ inȱ Felter,ȱ butȱ Iȱ doȱ notȱ seeȱ howȱ
Felterȱhelpsȱtheȱcourt.ȱThatȱcaseȱwasȱaboutȱwhether,ȱunderȱtheȱ
RailwayȱLaborȱAct’sȱcheckoěȱprovision,ȱaȱunionȱcouldȱrequireȱ
anȱemployeeȱtoȱsubmitȱhisȱrevocationȱonȱaȱparticularȱformȱfurȬ
nishedȱ byȱ theȱ union.ȱ Theȱ provisionȱ atȱ issueȱ statedȱ thatȱ noȱ
checkoěȱagreementȱ“shallȱbeȱeěectiveȱwithȱrespectȱtoȱanyȱinȬ
dividualȱemployeeȱuntilȱheȱshallȱhaveȱfurnishedȱtheȱemployerȱ
withȱaȱwriĴenȱassignmentȱtoȱtheȱlaborȱorganizationȱ…ȱwhichȱ
shallȱbeȱrevocableȱinȱwritingȱafterȱtheȱexpirationȱofȱoneȱyearȱ
…ȱ.”ȱ Id.ȱ atȱ 327.ȱ Theȱ Supremeȱ Courtȱ heldȱ thatȱ Congressȱ inȬ
tendedȱemployeesȱtoȱbeȱableȱtoȱfreelyȱrevokeȱtheirȱagreementsȱ
afterȱtheȱyearȱwasȱup.ȱItȱsawȱ“noȱauthorityȱgivenȱbyȱtheȱActȱtoȱ
carriersȱandȱlaborȱorganizationsȱtoȱrestrictȱtheȱemployee’sȱinȬ
dividualȱfreedomȱofȱdecision”ȱinȱcollectiveȱbargaining.ȱId.ȱatȱ
333.ȱȱ
    Felterȱwasȱnotȱaȱpreemptionȱcase.ȱItȱsimplyȱinterpretedȱtheȱ
termsȱofȱaȱparticularȱstatuteȱthatȱgrantedȱaȱlimitedȱauthorityȱ
toȱlaborȱandȱmanagementȱtoȱbargainȱforȱcheckoěȱagreements,ȱ
subjectȱtoȱeachȱemployee’sȱabilityȱtoȱrevokeȱhisȱagreementȱafȬ
terȱaȱyear.ȱToȱbeȱsure,ȱtheȱSupremeȱCourtȱheldȱthatȱlaborȱandȱ
managementȱ couldȱ notȱ bargainȱ forȱ additionalȱ requirementsȱ
beyondȱ“aȱwriĴenȱassignment,”ȱbutȱitȱsaidȱsoȱbecauseȱitȱinterȬ
pretedȱtheȱstatuteȱasȱpreservingȱemployeeȱfreedom.ȱTheȱupȬ
toȬoneȬyearȱprovisionȱinȱSectionȱ302(c)(4)ȱisȱsimilarȱinȱthatȱitȱ
protectsȱ employeesȱ fromȱ certainȱ bargainingȱ decisions.ȱ Inȱ
someȱways,ȱthatȱmakesȱtheseȱprovisionsȱcounterȬexamplesȱforȱ
Machinistsȱpreemption.ȱRatherȱthanȱreservingȱaȱzoneȱofȱfreeȬ
domȱforȱbargaining,ȱtheȱstatutesȱinȱFelterȱandȱhereȱreserveȱaȱ
zoneȱofȱfreedomȱforȱemployeeȱchoice.ȱIȱcannotȱconcludeȱthatȱ
MachinistsȱprecludesȱStatesȱfromȱexpandingȱthatȱzone.ȱ
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    Inȱ sum,ȱ Iȱ concludeȱ thatȱ theȱ Wisconsinȱ lawȱ isȱ notȱ
preemptedȱ underȱ Machinists.6ȱ Therefore,ȱ Iȱ mustȱ continueȱ toȱ
determineȱwhetherȱtheȱSeaPakȱdistrictȱcourt’sȱgeneralȱpreempȬ
tionȱconclusionsȱareȱstillȱbindingȱonȱusȱtoday.ȱ
      B.ȱSeaPakȱunderȱModernȱGeneralȱPreemptionȱDoctrineȱ
     CanȱSeaPakȱwithstandȱscrutinyȱunderȱmodernȱpreemptionȱ
doctrine?ȱFirst,ȱaȱquickȱreviewȱofȱgeneralȱimpliedȱpreemption.ȱ
Itȱ “comesȱ inȱ twoȱ types:ȱ (1)ȱ ęeldȱ preemption,ȱ whichȱ arisesȱ
whenȱtheȱfederalȱregulatoryȱschemeȱisȱsoȱpervasiveȱorȱtheȱfedȬ
eralȱinterestȱsoȱdominantȱthatȱitȱmayȱbeȱinferredȱthatȱCongressȱ
ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
     6ȱTheȱcourtȱalsoȱsuggestsȱthatȱtheȱWisconsinȱlawȱmightȱbeȱpreemptedȱ

underȱSanȱDiegoȱBuildingȱTradesȱCouncilȱv.ȱGarmon,ȱ359ȱU.S.ȱ236ȱ(1959).ȱInȱ
Garmon,ȱ“theȱCourtȱheldȱthatȱ‘[w]henȱanȱactivityȱisȱarguablyȱsubjectȱtoȱ§ȱ7ȱ
orȱ§ȱ8ȱofȱtheȱAct,ȱtheȱStatesȱasȱwellȱasȱtheȱfederalȱcourtsȱmustȱdeferȱtoȱtheȱ
exclusiveȱcompetenceȱofȱtheȱNationalȱLaborȱRelationsȱBoardȱifȱtheȱdangerȱ
ofȱstateȱinterferenceȱwithȱnationalȱpolicyȱisȱtoȱbeȱaverted.’”ȱNLRBȱv.ȱStateȱ
ofȱIll.ȱDep’tȱofȱEmp’tȱSec.,ȱ988ȱF.2dȱ735,ȱ738ȱ(7thȱCir.ȱ1993)ȱ(quotingȱGarmon,ȱ
359ȱ U.S.ȱ atȱ245).ȱ Thisȱ caseȱ doesȱ notȱ concernȱactivityȱevenȱ arguablyȱ proȬ
tectedȱ byȱ Sectionȱ 7ȱ orȱ prohibitedȱ byȱ Sectionȱ 8ȱ ofȱ theȱ NLRA.ȱ Moreover,ȱ
Garmonȱpreemptionȱ“seeksȱtoȱprotectȱtheȱNLRBȇsȱprimaryȱjurisdictionȱinȱ
casesȱinvolvingȱsectionsȱ7ȱandȱ8ȱofȱtheȱNLRA.”ȱ520ȱS.ȱMich.ȱAve.,ȱ549ȱF.3dȱ
atȱ1125.ȱButȱtheȱNLRBȱhasȱnoȱjurisdictionȱhere;ȱitȱdoesȱnotȱenforceȱSectionȱ
302ȱofȱtheȱTaftȬHartleyȱAct.ȱȱ
      Further,ȱ Iȱ wouldȱ notȱ considerȱ aȱ checkoffȱ agreementȱ toȱ beȱ aȱ wageȬ
relatedȱtermȱofȱemploymentȱunderȱSectionȱ8(a)(5)ȱofȱtheȱNLRA.ȱAȱcheckoffȱ
isȱ aȱ deviceȱ ofȱ convenienceȱ thatȱ allowsȱ anȱ employeeȱ toȱ moreȱ easilyȱ payȱ
unionȱdues.ȱItȱhasȱnoȱeffectȱonȱtheȱemployee’sȱwagesȱorȱworkȱconditions.ȱ
Evenȱ whereȱ theȱ unionȱ andȱ managementȱ bargainȱ forȱ theȱ existenceȱ ofȱ
checkoffs,ȱemployeesȱneedȱnotȱtakeȱadvantageȱofȱthem.ȱItȱisȱhardȱtoȱseeȱ
howȱ aȱ voluntaryȱ agreementȱ toȱ payȱ unionȱ duesȱ outȱ ofȱ one’sȱ paycheckȱ
wouldȱconstituteȱaȱtermȱofȱemploymentȱatȱall.ȱ
    Forȱtheseȱreasons,ȱIȱwouldȱconcludeȱthatȱGarmonȱpreemptionȱisȱinapȬ
plicable.ȱȱ
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intendedȱtoȱoccupyȱtheȱentireȱlegislativeȱęeld;ȱandȱ(2)ȱconĚictȱ
preemption,ȱwhichȱarisesȱwhenȱstateȱlawȱconĚictsȱwithȱfedȬ
eralȱlawȱtoȱtheȱextentȱthatȱ‘complianceȱwithȱbothȱfederalȱandȱ
stateȱregulationsȱisȱaȱphysicalȱimpossibility,’ȱorȱtheȱstateȱlawȱ
‘standsȱasȱanȱobstacleȱtoȱtheȱaccomplishmentȱandȱexecutionȱofȱ
theȱ fullȱ purposesȱ andȱ objectivesȱ ofȱ Congress.’”ȱ Plannedȱ
ParenthoodȱofȱInd.,ȱInc.,ȱv.ȱComm’rȱofȱInd.ȱStateȱDep’tȱofȱHealth,ȱ
699ȱF.3dȱ962,ȱ984ȱ(7thȱCir.ȱ2012)ȱ(quotingȱArizona,ȱ567ȱU.S.ȱatȱ
399).ȱSoȱweȱhaveȱthreeȱtypesȱofȱpreemption:ȱęeldȱpreemptionȱ
andȱtwoȱspeciesȱofȱconĚictȱpreemptionȱknownȱasȱimpossibilȬ
ityȱandȱobstacleȱpreemption.ȱImportantly,ȱpreemptionȱanalyȬ
sisȱ “beginsȱ withȱ aȱ presumptionȱ againstȱ preemptionȱ andȱ foȬ
cusesȱęrstȱonȱtheȱtextȱofȱtheȱstatute.”ȱId.ȱȱ
    Impossibilityȱpreemptionȱappliesȱonlyȱwhereȱitȱisȱactuallyȱ
“impossibleȱforȱaȱprivateȱpartyȱtoȱcomplyȱwithȱbothȱtheȱstateȱ
andȱ federalȱ law.”ȱ Patrioticȱ Veterans,ȱ Inc.ȱ v.ȱ Indiana,ȱ 736ȱ F.3dȱ
1041,ȱ1049ȱ(7thȱCir.ȱ2013).ȱAlthoughȱtheȱSeaPakȱdistrictȱcourtȱ
saidȱthatȱtheȱfederalȱandȱstateȱstatutesȱinȱthatȱcaseȱwereȱ“comȬ
pletelyȱatȱodds”ȱandȱcouldȱnotȱ“coexist,”ȱSeaPak,ȱ300ȱF.ȱSupp.ȱ
atȱ1200,ȱitȱwasȱplainlyȱwrong.ȱLikeȱtheȱrevocableȬatȬwillȱproȬ
visionȱatȱissueȱinȱSeaPak,ȱtheȱ30Ȭdayȱirrevocabilityȱperiodȱnowȱ
mandatedȱbyȱWisconsinȱlawȱdoesȱnotȱviolateȱfederalȱlaw.ȱFedȬ
eralȱ lawȱ makesȱ anȱ employerȱ paymentȱ toȱ aȱ unionȱ underȱ aȱ
checkoěȱagreementȱaȱcrimeȱonlyȱifȱsuchȱagreementȱisȱirrevoȬ
cableȱ forȱ moreȱ thanȱ oneȱ year.ȱ Theȱ 30Ȭdayȱ Wisconsinȱ periodȱ
fallsȱ withinȱ theȱ safeȬharborȱ exceptionȱ grantedȱ byȱ Sectionȱ
302(c)(4)ȱofȱtheȱTaftȬHartleyȱAct.ȱSinceȱaȱ30Ȭdayȱirrevocabilityȱ
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periodȱcompliesȱwithȱbothȱstateȱandȱfederalȱlaw,ȱSeaPakȱcanȬ
notȱbeȱjustięedȱunderȱimpossibilityȱpreemption.7ȱ
    Regardingȱ obstacleȱ preemption,ȱ theȱ SeaPakȱ districtȱ courtȱ
aĴemptedȱtoȱascertainȱtheȱpurposeȱbehindȱSectionȱ302(c)(4),ȱ
notingȱ thatȱ Senateȱ debateȱ revealedȱ “deepȱ concernȱ aboutȱ
checkoěsȱandȱtheȱperiodȱduringȱwhichȱtheyȱmayȱbeȱirrevocaȬ
ble.”ȱId.ȱTheȱcourtȱtheorizedȱthatȱ“Congressȱ‘wasȱnotȱindiěerȬ
entȱtoȱthatȱsubject,ȱbutȱonȱtheȱcontrary,ȱwasȱsoȱvitallyȱinterȬ
estedȱtherein,ȱthatȱitȱestablishedȱcertainȱconditionsȱprecedentȱ
whichȱ anȱ employerȱ mustȱ meetȱ beforeȱ heȱ mayȱ ‘checkȬoě’ȱ
membershipȱdues.’”ȱId.ȱ(quotingȱStateȱv.ȱMontgomeryȱWardȱ&ȱ
Co.,ȱ233ȱP.2dȱ685,ȱ688ȱ(Utahȱ1951)).ȱThatȱęndingȱwasȱenoughȱ
forȱ theȱ districtȱ courtȱ toȱ holdȱ Georgia’sȱ checkoěȱ restrictionȱ
preemptedȱforȱcreatingȱanȱobstacleȱtoȱtheȱenforcementȱofȱfedȬ
eralȱlaw.ȱ
    Thisȱanalysisȱwasȱquestionableȱinȱ1969,ȱbutȱitȱisȱtotallyȱunȬ
tenableȱtoday.ȱAsȱIȱnotedȱabove,ȱtoday’sȱ“[i]mpliedȱpreempȬ
tionȱanalysisȱdoesȱnotȱjustifyȱaȱ‘freewheelingȱjudicialȱinquiryȱ
intoȱ whetherȱaȱstateȱstatuteȱisȱinȱtensionȱwithȱfederalȱ objecȬ
tives’;ȱsuchȱanȱendeavorȱ‘wouldȱundercutȱtheȱprincipleȱthatȱitȱ
isȱCongressȱratherȱthanȱtheȱcourtsȱthatȱpreemptsȱstateȱlaw.’”ȱ
Whiting,ȱ563ȱU.S.ȱatȱ607ȱ(quotingȱGade,ȱ505ȱU.S.ȱatȱ111ȱ((KenȬ
nedy,ȱJ.,ȱconcurringȱinȱpartȱandȱconcurringȱinȱtheȱjudgment)).ȱ
Lookingȱtoȱtheȱtextȱandȱstructureȱofȱtheȱlaw,ȱandȱkeepingȱinȱ
mindȱtheȱpresumptionȱagainstȱpreemption,ȱIȱwouldȱconcludeȱ
thatȱ obstacleȱ preemptionȱ isȱ inapplicableȱ here.ȱ Thatȱ isȱ forȱ

ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
     7ȱTheȱtextȱofȱSectionȱ8ȱofȱtheȱNLRAȱprovidesȱnoȱindicationȱthatȱaȱ30Ȭ

dayȱperiodȱofȱirrevocabilityȱwouldȱconstituteȱanȱunfairȱlaborȱpracticeȱunȬ
derȱfederalȱlaw,ȱsoȱIȱdoȱnotȱseeȱhowȱtheȱNLRBȱcouldȱpossiblyȱsanctionȱanyȱ
privateȱpartiesȱforȱcomplyingȱwithȱWisconsinȱlaw.ȱ
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muchȱtheȱsameȱreasonȱthatȱIȱhaveȱalreadyȱconcludedȱMachinȬ
istsȱisȱinapplicable,ȱalthoughȱtheȱęndingȱcomesȱeasierȱinȱtheȱ
generalȱ preemptionȱ contextȱ sinceȱ weȱ needȱ notȱ worryȱ aboutȱ
theȱinferencesȱdrawnȱfromȱcongressionalȱsilenceȱthatȱpermeȬ
ateȱMachinistsȱcases.ȱInȱshort,ȱnothingȱinȱtheȱtextȱofȱtheȱNLRA,ȱ
TaftȬHartleyȱ generally,ȱ orȱ Sectionȱ 302(c)(4)ȱ specięcallyȱ indiȬ
catesȱanyȱfederalȱobjectiveȱthatȱwouldȱbeȱfrustratedȱbyȱWisȬ
consin’sȱregulation.ȱ
     Finally,ȱ weȱ haveȱ generalȱ ęeldȱ preemption.ȱ Inȱ itsȱ mostȱ
sweepingȱ conclusion,ȱ theȱ SeaPakȱ districtȱ courtȱ declaredȱ thatȱ
“[t]heȱareaȱofȱcheckoěȱofȱunionȱduesȱhasȱbeenȱfederallyȱoccuȬ
piedȱ toȱsuchȱanȱextentȱunderȱ [Sectionȱ 302]ȱthatȱnoȱroomȱreȬ
mainsȱ forȱ stateȱ regulationȱ inȱ theȱ sameȱ ęeld.”ȱ SeaPak,ȱ 300ȱ F.ȱ
Supp.ȱ atȱ 1200.ȱItȱ reachedȱthisȱconclusionȱrelyingȱentirelyȱ onȱ
legislativeȱhistory.ȱSeeȱsupraȱatȱ9.ȱBut,ȱasȱdiscussedȱabove,ȱ“reȬ
centȱ casesȱ haveȱ frequentlyȱ rejectedȱ ęeldȱ preȬemptionȱ inȱ theȱ
absenceȱofȱstatutoryȱlanguageȱexpresslyȱrequiringȱit.”ȱKurns,ȱ
565ȱU.S.ȱatȱ640–41ȱ(Sotomayor,ȱJ.,ȱconcurringȱinȱpartȱandȱdisȬ
sentingȱinȱpart)ȱ(quotingȱCampsȱNewfound/Owatonna,ȱ520ȱU.S.ȱ
atȱ 617ȱ (Thomas,ȱ J.,ȱ dissenting)).ȱ Theȱ preemptionȱ theoryȱ theȱ
SeaPakȱdistrictȱcourtȱadvancedȱwasȱentirelyȱatextual,ȱbasedȱinȬ
steadȱonȱwordsȱCongressȱrejected.ȱSeaPak,ȱ300ȱF.ȱSupp.ȱatȱ1200.ȱ
Whileȱ suchȱ cavalierȱ useȱ ofȱ legislativeȱ historyȱ toȱ determineȱ
congressionalȱ intentȱ wasȱ commonplaceȱ atȱ theȱ time,ȱ seeȱ CitiȬ
zensȱtoȱPreserveȱOvertonȱPark,ȱInc.ȱv.ȱVolpe,ȱ401ȱU.S.ȱ402,ȱ412ȱn.29ȱ
(1971)ȱ (whereȱ theȱ legislativeȱ historyȱ isȱ ambiguous,ȱ courtsȱ
shouldȱ lookȱ toȱ theȱ statuteȱ toȱ determineȱ legislativeȱ intent),ȱ itȱ
hasȱthankfullyȱfallenȱoutȱofȱfavor,ȱseeȱLamieȱv.ȱU.S.ȱTrustee,ȱ540ȱ
U.S.ȱ 526,ȱ 534,ȱ 536ȱ (2004)ȱ (evenȱ thoughȱ aȱ statuteȱ wasȱ “awkȬ
ward”ȱ andȱ “ungrammatical,”ȱ itȱ wasȱ notȱ ambiguousȱ andȱ soȱ
theȱCourtȱcouldȱnotȱconsultȱlegislativeȱhistory).ȱNoȱcourtȱtoȬ
dayȱwouldȱęndȱthatȱ Congressȱintendedȱtoȱoccupyȱanȱentireȱ
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ęeldȱ basedȱ onȱ languageȱ thatȱ failedȱ toȱ makeȱ itȱ intoȱ theȱ ęnalȱ
bill.ȱ
   Writingȱonȱaȱcleanȱslate,ȱIȱwouldȱconcludeȱthatȱWisconsinȱ
shouldȱbeȱpermiĴedȱtoȱenforceȱitsȱlimitationȱonȱduesȱcheckoěȱ
agreements.ȱ Nevertheless,ȱ Iȱ recognizeȱ thatȱ theȱ Supremeȱ
Court’sȱ summaryȱ dispositionȱ inȱ SeaPakȱ retainsȱ someȱ preceȬ
dentialȱforce.ȱThus,ȱtheȱęnalȱquestionȱisȱwhether,ȱevenȱassumȬ
ingȱSeaPakȱwasȱwronglyȱdecided,ȱweȱshouldȱstillȱfollowȱit.ȱ
      C.ȱIsȱSeaPakȱStillȱBinding?ȱ
    Unlikeȱaȱdenialȱofȱcertiorari,ȱaȱsummaryȱdispositionȱofȱtheȱ
SupremeȱCourtȱisȱaȱdecisionȱonȱtheȱmeritsȱofȱaȱcase.ȱSeeȱHicksȱ
v.ȱ Miranda,ȱ 422ȱ U.S.ȱ 332,ȱ 344ȱ (1975).ȱ Therefore,ȱ “unlessȱ andȱ
untilȱtheȱSupremeȱCourtȱshouldȱinstructȱotherwise,”ȱinferiorȱ
courtsȱshouldȱtreatȱsummaryȱdispositionsȱasȱbindingȱ“exceptȱ
whenȱdoctrinalȱdevelopmentsȱindicateȱotherwise.”ȱId.ȱ(quotȬ
ingȱPortȱAuth.ȱBondholdersȱProtectiveȱComm.ȱv.ȱPortȱofȱN.Y.ȱAuth.,ȱ
387ȱ F.2dȱ 259,ȱ 263ȱ n.3ȱ (2dȱ Cir.ȱ 1967)).8ȱ Notȱ surprisingly,ȱ theȱ
scopeȱ ofȱ thatȱ “doctrinalȱ developments”ȱ exceptionȱ hasȱ beenȱ
theȱsubjectȱofȱsignięcantȱdebate.ȱȱ
   InȱBaskinȱv.ȱBogan,ȱ766ȱF.3dȱ648ȱ(7thȱCir.ȱ2014),ȱthisȱcourtȱ
consideredȱtheȱconstitutionalityȱofȱtheȱmarriageȱlawsȱofȱIndiȬ
anaȱandȱWisconsin.ȱWeȱconfrontedȱtheȱSupremeȱCourt’sȱsumȬ
maryȱ dispositionȱ inȱ Bakerȱ v.ȱ Nelson,ȱ 409ȱ U.S.ȱ 810ȱ (1972)ȱ


ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
     8ȱAsȱIȱnotedȱabove,ȱtheȱSupremeȱCourtȱhasȱsaidȱ“thatȱsummaryȱaffirȬ

mancesȱhaveȱconsiderablyȱlessȱprecedentialȱvalueȱthanȱanȱopinionȱonȱtheȱ
merits.”ȱSocialistȱWorkersȱParty,ȱ440ȱU.S.ȱatȱ180–81.ȱHowever,ȱthisȱappearsȱ
toȱapplyȱonlyȱtoȱtheȱSupremeȱCourt’sȱdecisionsȱwhetherȱtoȱoverruleȱitsȱownȱ
cases.ȱAsȱaȱlowerȱcourt,ȱweȱareȱboundȱbyȱsummaryȱaffirmancesȱunlessȱtheȱ
Hicksȱdoctrinalȱdevelopmentsȱexceptionȱapplies.
52ȱ                                                                 No.ȱ17Ȭ1178ȱ

(mem.),ȱwhichȱhadȱdismissedȱanȱappealȱfromȱaȱsameȬsexȱcouȬ
pleȱchallengingȱMinnesota’sȱmarriageȱlawsȱ“forȱwantȱofȱaȱsubȬ
stantialȱfederalȱquestion.”ȱThatȱdecisionȱwasȱnoȱlongerȱbindȬ
ingȱonȱtheȱlowerȱcourts,ȱweȱsaid,ȱbecauseȱsubsequentȱdoctriȬ
nalȱ developmentsȱ inȱ casesȱ likeȱ Romerȱ v.ȱ Evans,ȱ 517ȱ U.S.ȱ 620ȱ
(1996),ȱLawrenceȱv.ȱTexas,ȱ539ȱU.S.ȱ558ȱ(2003),ȱandȱUnitedȱStatesȱ
v.ȱWindsor,ȱ133ȱS.ȱCt.ȱ2675ȱ(2013),ȱ“makeȱclearȱthatȱBakerȱisȱnoȱ
longerȱauthoritative.”ȱBaskin,ȱ766ȱF.3dȱatȱ660.ȱWeȱsoȱconcludedȱ
evenȱthoughȱnoneȱofȱthoseȱcasesȱhadȱquestionedȱBaker’sȱconȬ
clusionȱthatȱnoȱfederalȱconstitutionalȱrightȱtoȱsameȬsexȱmarȬ
riageȱexisted.ȱIndeed,ȱonȱtheȱsameȱdayȱitȱdecidedȱWindsor,ȱtheȱ
SupremeȱCourtȱalsoȱruledȱinȱHollingsworthȱv.ȱPerry,ȱ570ȱU.S.ȱ
693ȱ(2013),ȱthatȱitȱlackedȱjurisdictionȱtoȱaddressȱtheȱmarriageȱ
question.ȱSeeȱalsoȱLawrence,ȱ539ȱU.S.ȱatȱ585ȱ(O’Connor,ȱJ.,ȱconȬ
curringȱinȱtheȱjudgment)ȱ(“Texasȱcannotȱassertȱanyȱlegitimateȱ
stateȱinterestȱhere,ȱsuchȱasȱnationalȱsecurityȱorȱpreservingȱtheȱ
traditionalȱ institutionȱ ofȱ marriage.”ȱ (emphasisȱ added)).ȱ Theȱ
Courtȱ ultimatelyȱ addressedȱ thatȱ questionȱ inȱ Obergefellȱ v.ȱ
Hodges,ȱ135ȱS.ȱCt.ȱ2584ȱ(2015),ȱbutȱweȱdidn’tȱthinkȱitȱnecessaryȱ
toȱwaitȱforȱtheȱCourtȱtoȱoverruleȱitsȱsummaryȱdispositionȱinȱ
BakerȱbeforeȱweȱinvalidatedȱtheȱIndianaȱandȱWisconsinȱlaws.9ȱ
ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
      9ȱNotȱeveryoneȱsharesȱourȱwillingnessȱtoȱ“jumpȱtheȱgun”ȱonȱ“overrulȬ

ing”ȱtheȱSupremeȱCourt’sȱsupposedlyȱ“outdated”ȱcases.ȱInȱtheȱsameȱmarȬ
riageȱ context,ȱ theȱ Sixthȱ Circuitȱ insistedȱ thatȱ Bakerȱ wasȱ stillȱ bindingȱ onȱ
lowerȱcourts.ȱJudgeȱSuttonȱwroteȱthatȱcircuitȱcourtsȱmayȱonlyȱ“ignoreȱaȱ
Supremeȱ Courtȱ decision”ȱ inȱ twoȱ circumstances:ȱ “whenȱ theȱ Courtȱ hasȱ
overruledȱ theȱ decisionȱ byȱnameȱ (if,ȱ say,ȱ Windsorȱ hadȱ directlyȱ overruledȱ
Baker)ȱorȱwhenȱtheȱCourtȱhasȱoverruledȱtheȱdecisionȱbyȱoutcomeȱ(if,ȱsay,ȱ
Hollingsworthȱ hadȱ invalidatedȱ theȱ Californiaȱ lawȱ withoutȱ mentioningȱ
Baker).”ȱDeBoerȱv.ȱSnyder,ȱ772ȱF.3dȱ388,ȱ401ȱ(6thȱCir.ȱ2014),ȱrev’dȱonȱotherȱ
groundsȱsubȱnom.ȱObergefellȱv.ȱHodges,ȱ135ȱS.ȱCt.ȱ2584ȱ(2015).ȱInȱhisȱview,ȱ
“[a]nyȱotherȱapproachȱreturnsȱusȱtoȱaȱworldȱinȱwhichȱtheȱlowerȱcourtsȱmayȱ
anticipatorilyȱoverruleȱallȱmannerȱofȱSupremeȱCourtȱdecisionsȱbasedȱonȱ
No.ȱ17Ȭ1178ȱ                                                                 53ȱ

    IfȱweȱwereȱwillingȱtoȱdiscardȱBakerȱinȱlightȱofȱtheseȱcases,ȱ
theȱsameȱshouldȱapplyȱhere.ȱAsȱIȱhaveȱdemonstrated,ȱtheȱSuȬ
premeȱCourt’sȱpreemptionȱjurisprudenceȱhasȱevolvedȱsignięȬ
cantlyȱsinceȱSeaPak.ȱTheȱCourtȱisȱnowȱmuchȱmoreȱsensitiveȱtoȱ
federalismȱconcernsȱandȱfarȱlessȱlikelyȱtoȱimplyȱpreemptionȱ
fromȱambiguousȱstatutesȱorȱlegislativeȱhistory.ȱTheȱSeaPakȱdisȬ
trictȱcourt’sȱanalysisȱperhapsȱmadeȱsomeȱsenseȱinȱ1969,ȱbutȱitȱ
cannotȱstandȱalongsideȱmodernȱpreemptionȱdoctrine.ȱThereȬ
fore,ȱunderȱBaskin,ȱIȱwouldȱnoȱlongerȱregardȱitȱasȱbinding.ȱȱ
                                           III.ȱConclusionȱ
    Wisconsinȱ hasȱ challengedȱ aȱ decadesȬoldȱ Supremeȱ Courtȱ
summaryȱaĜrmanceȱpreventingȱitȱfromȱlegislatingȱtoȱprovideȱ
employeesȱadditionalȱfreedomȱtoȱrevokeȱagreementsȱtoȱcheckȱ
oěȱunionȱduesȱfromȱtheirȱpaychecks.ȱIȱconcludeȱthatȱtheȱprecȬ
edentialȱvalueȱofȱthatȱcase,ȱSeaPakȱv.ȱIndustrial,ȱTechnicalȱ&ȱProȬ
fessionalȱ Employees,ȱ 400ȱ U.S.ȱ 985ȱ (1971)ȱ (mem.),ȱ hasȱ beenȱ soȱ
erodedȱbyȱchangesȱtoȱpreemptionȱdoctrineȱthatȱweȱshouldȱnoȱ
longerȱfollowȱit.ȱTheȱcourt,ȱperhapsȱsensingȱthatȱSeaPakȱisȱonȱ
weakȱ groundȱ underȱ generalȱ preemptionȱ principles,ȱ mostlyȱ
defendsȱitȱasȱanȱearlyȱapplicationȱofȱlaborȬspecięcȱMachinistsȱ
preemption.ȱ Butȱ notȱ onlyȱ wasȱ SeaPakȱ notȱ aȱ Machinistsȱ case,ȱ
MachinistsȱisȱinapplicableȱtoȱtheȱWisconsinȱlawȱasȱaȱmaĴerȱofȱ
ęrstȱimpression.ȱNorȱcanȱtheȱresultȱbeȱjustięedȱunderȱmodernȱ
preemptionȱ doctrine,ȱ whichȱ grantsȱ theȱ Statesȱ farȱ moreȱ latiȬ
tudeȱtoȱlegislateȱalongsideȱfederalȱlawȱthanȱtheyȱonceȱhad.ȱȱ

ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ
countingȬtoȬfiveȱ predictions,ȱ perceivedȱ trajectoriesȱ inȱ theȱ caselaw,ȱ or,ȱ
worstȱofȱall,ȱnewȱappointmentsȱtoȱtheȱCourt.”ȱId.ȱȱ
     Iȱ amȱ sympatheticȱ toȱ Judgeȱ Sutton’sȱ narrowerȱ approachȱ toȱ theȱ Hicksȱ
exception,ȱbutȱBaskinȱremainsȱtheȱlawȱinȱourȱcircuit.ȱIfȱitȱwereȱotherwise,ȱ
thisȱdissentȱwouldȱtakeȱtheȱformȱofȱanȱopinionȱconcurringȱinȱtheȱjudgment.ȱ
54ȱ                                                No.ȱ17Ȭ1178ȱ

   IȱdoȱnotȱlightlyȱrecommendȱdecliningȱtoȱfollowȱSupremeȱ
Courtȱprecedent.ȱButȱtheȱSeaPakȱdecisionȱcannotȱstandȱupȱtoȱ
scrutinyȱunderȱtoday’sȱpreemptionȱdoctrines.ȱIȱamȱconvincedȱ
thatȱaȱcourtȱdecidingȱthisȱcaseȱtoday,ȱwritingȱonȱaȱcleanȱslate,ȱ
wouldȱęndȱWisconsin’sȱlawȱnotȱpreempted.ȱTheȱchangesȱtoȱ
preemptionȱdoctrineȱhaveȱbeenȱsoȱsignięcantȱthatȱweȱneedȱnoȱ
longerȱfollowȱSeaPak.ȱTherefore,ȱWisconsinȱshouldȱbeȱpermitȬ
tedȱtoȱenforceȱitsȱlimitationȱonȱduesȱcheckoěȱprovisions.ȱ
      Iȱrespectfullyȱdissent.ȱ
